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                       EXHIBIT A
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10                     IN THE UNITED STATES DISTRICT COURT
11                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                WESTERN DIVISION
13   ONE-E-WAY, INC., a California                Case No. 2:20-CV-06339-JSK-PD
     corporation,
14                                                ONE-E-WAY’S DISCLOSURE
15                 Plaintiff,                     OF ASSERTED CLAIMS AND
                                                  INFRINGEMENT
16          v.                                    CONTENTIONS AND
17                                                ACCOMPANYING
     APPLE INC., a California corporation,
                                                  DOCUMENTS PURSUANT TO
18                                                S.P.R. 2.1 AND 2.2
                   Defendant.
19
                                                  Hon. John A. Kronstadt
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1          Pursuant to this Court’s Standing Patent Rules (“S.P.R.”) 2.1 and 2.2 (Dkt.
2    No. 10), Plaintiff One-E-Way, Inc. (“Plaintiff” or “One-E-Way”) hereby provides
3    its disclosure of asserted claims and infringement contentions and accompanying
4    document production. In view of the limited discovery available to One-E-Way at
5    this early stage of the proceeding, One-E-Way reserves the right to amend this
6    disclosure in view of any relevant evidence subsequently obtained through
7    discovery.
8         I. DISCLOSURE OF ASSERTED CLAIMS AND INFRINGEMENT
9                                CONTENTIONS – S.P.R. 2.1
10   A.    Asserted Claims – S.P.R. 2.1.1
11         Based on currently available information, Plaintiff One-E-Way contends that
12   Defendant Apple Inc. (“Defendant” or “Apple”) infringes the following claims of
13   U.S. Patent Nos. 8,131,391 (“the ’391 patent”), 10,129,627 (“the ’627 patent”) and
14   10,468,047 (“the ’047 patent”) (collectively, “the Asserted Patents”):
15
16                   Asserted Patent                       Asserted Claims
17                        ’391                                1, 3-6, 10
18                        ’627                                1-6, 10-12
19                        ’047                             1-6, 8-15, 17-20
20
21         Each claim in the table above is alleged to be infringed under 35 U.S.C.
22   § 271(a) and (b). These claims are collectively referred to as the “Asserted Claims.”
23   One-E-Way reserves the right to amend or supplement this disclosure as information
24   becomes available.
25   B.    Accused Instrumentalities – S.P.R. 2.1.2
26         One-E-Way hereby identifies the following Apple products as products that
27   practice the Asserted Claims. For all products identified herein, One-E-Way also
28   identifies any prior or subsequent commercial iteration of the product if that product
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1    was/is capable of wirelessly transmitting or receiving audio data using Bluetooth
2    connectivity in the manner set forth in the S.P.R. 2.1.3 disclosure.
3    Apple
4            AirPods, AirPods Pro, HomePod, iPhone, iPad, iPod, and Apple Watch.1
5    Beats
6            Powerbeats Wireless Earphones, Powerbeats Pro Wireless Earphones,
7    Powerbeats3 Wireless Earphones, Beats Solo Pro Wireless Noise Cancelling
8    Headphones, Beats Solo3 Wireless Headphones, Beats Studio3 Wireless
9    Headphones, BeatsX Wireless Earphones, and Beats Pill+ Portable Speaker.
10   C.      Claim Charts – S.P.R. 2.1.3
11           Attached as Exhibits A-C are claim charts showing where each limitation of
12   each of the Asserted Claims is literally present within the accused devices.
13   D.      Priority Date of the Patents-in-Suit – S.P.R. 2.1.4
14           Each Asserted Patent claims a priority date of December 21, 2001, the date of
15   U.S. Patent Application No. 10/027,391, which is the common original parent
16   application to the Asserted Patents.
17           The sole named inventor on the Asserted Patents, and the 10/027,391 original
18   parent application, is C. Earl Woolfork. Mr. Woolfork conceived of the inventions
19   of the Asserted Claims by at least June 25, 1999. The Asserted Claims were
20   constructively reduced to practice by at least December 21, 2001, the date upon
21   which the 10/027,391 original parent application was filed. Mr. Woolfork was
22   diligent towards reducing the Asserted Claims to practice from at least June 25,
23   1999, until December 21, 2001, and the Asserted Claims are entitled to priority of
24   invention as of at least June 25, 1999.
25   ///
26
27           1
             Although apparently not yet commercially available, One-E-Way also identifies Apple’s
28   AirPods Studio Headphones.

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1    E.    Practicing the Claimed Invention – S.P.R. 2.1.5
2          One-E-Way does not intend to rely on its own products practicing any of the
3    Asserted Claims to prove infringement.
4    F.    Willful Infringement – S.P.R. 2.1.6
5          Based on the limited discovery available to One-E-Way at this early stage of
6    the proceedings, One-E-Way does not allege willful infringement at this time.
7          II. ACCOMPANYING DOCUMENT PRODUCTION – S.P.R. 2.2
8    A.    File Histories of the Asserted Patents – S.P.R. 2.2.1
9          One-E-Way has produced the file histories of the Asserted Patents, along with
10   the file histories of the other patents in the chain of priority of the Asserted Patents,
11   at OEW_APPLE-0000086-0008878.
12   B.    Documents Evidencing Ownership – S.P.R. 2.2.2
13         One-E-Way has produced documents evidencing ownership of the Asserted
14   Patents at OEW_APPLE-0008879-8940.
15   C.    Documents Supporting Practicing the Claimed Invention – S.P.R. 2.2.3
16         For the reasons stated in Section I.E above, One-E-Way has not produced any
17   documents pursuant to S.P.R. 2.2.3.
18
19                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
20
21   Dated: September 15, 2020       /s/ Douglas G. Muehlhauser
                                     Douglas G. Muehlhauser
22                                   Payson LeMeilleur
23                                   Attorneys for Plaintiff
                                     ONE-E-WAY, INC.
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                                              ID #:372
                                              Exhibit A


              One-E-Way’s S.P.R. 2.1.3 Asserted Claim Chart For The ’391 Patent

         One-E-Way hereby provides its S.P.R. 2.1.3 Asserted Claim Chart for One-E-Way’s U.S.

 Patent No. 8,131,391. The claims of the ’391 patent identified herein are claims 1, 3-6 and 10.

         As used herein, “Accused Receiver Device” includes any of the following individual

 devices: Apple’s AirPods, AirPods Pro and HomePod, and Apple’s Powerbeats Wireless

 Earphones, Powerbeats Pro Wireless Earphones, Powerbeats3 Wireless Earphones, Beats Solo Pro

 Wireless Noise Cancelling Headphones, Beats Solo3 Wireless Headphones, Beats Studio3 Wireless

 Headphones, BeatsX Wireless Earphones, and Beats Pill+ Portable Speaker.1 Although not

 commercially available yet, One-E-Way expects, upon information and belief, that Apple’s

 AirPods Studio Headphones will satisfy the same claims, in the same manner, as the Accused

 Receiver Devices discussed below.

         As used herein, “Accused Transmitter Device” includes any of the following individual

 devices: Apple’s iPhone, iPad, iPod and Apple Watch.

         The following chart provides exemplary evidence of infringement. Additionally, for

 simplicity, One-E-Way relies on citations to Bluetooth specification 5.0. However, because of the

 backwards-compatibility of Bluetooth back to Bluetooth version 2.1, each citation to Bluetooth

 5.0 should be understood to also refer to the corresponding sections in each Bluetooth specification

 from version 2.1 onward, such as Bluetooth specification 4.0, 4.1 and 4.2. One-E-Way also notes

 that Apple has yet to provide discovery, as the case is in the beginning stages. One-E-Way reserves

 the right to identify additional information learned through discovery that further confirms these

 infringement contentions.




         1
            For Claims 1, 3, 6 and 10, the term “Accused Receiver Device” does not include the Apple HomePod or
 Beats Pill+ Portable Speaker.


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                                             Exhibit A



  U.S. Patent 8,131,391             Accused Transmitter and Receiver Devices
  1. A wireless digital Each Accused Receiver Device includes a wireless headphone having
     audio headphone    one or more speakers. These include over-head-type headphones, in-
     comprising:        ear earbud-type headphones and behind-neck-type headphones.

                            For example, Apple promotes its AirPods and AirPods Pro as
                            headphones.

                            https://www.apple.com/airpods/
                            https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                            headphones-with-airpods/
                            https://www.apple.com/shop/product/MWNX2/powerbeats-high-
                            performance-wireless-earphones-red


                            Each Accused Receiver Device is operative to communicate
                            wirelessly.
                            See also:
                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices. The key features of Bluetooth wireless
                            technology are robustness, low power consumption, and low cost.
                            Many features of the core specification are optional, allowing product
                            differentiation.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

  a portable digital        Each Accused Receiver Device is a product that wirelessly receives
     audio headphone        audio data using Bluetooth connectivity.
     receiver configured
     to receive a unique    Each Accused Receiver Device is a digital audio spread spectrum
     user code bit          receiver. For example:
     sequence and a
     original audio         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     signal                 or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     representation in      employs a frequency hopping transceiver to combat interference and
     the form of packets,   fading and provides many FHSS [frequency hopping spread
     said digital audio     spectrum] carriers.
     headphone              (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
     receiver, capable of
     mobile operation       Each Accused Receiver Device is configured to receive a unique user
     and configured for     code. For example:
     direct digital         1.3 ACCESS CODES
     wireless spread


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                                        Exhibit A


  U.S. Patent 8,131,391              Accused Transmitter and Receiver Devices
    spectrum            In the Bluetooth system all transmissions over the physical channel
    communication       begin with an access code. Three different access codes are defined,
    with a mobile       see also Section 6.3.1:
    digital audio
    transmitter;                • device access code (DAC)
                                • channel access code (CAC)
                                • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                          Each Accused Receiver Device relies on packet-based
                          communication.
                          For example:




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                                             Exhibit A


  U.S. Patent 8,131,391                  Accused Transmitter and Receiver Devices
                            The physical channel is sub-divided into time units known as slots.
                            Data is transmitted between Bluetooth devices in packets that are
                            positioned in these slots. When circumstances permit, a number of
                            consecutive slots may be allocated to a single packet.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                            3.2.1 (“BR/EDR Generic Packet Structure”).)
                            See also:
                            2.3 PACKET FORMAT
                            Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                            identify different types of PDUs, see Table 5.1. The first 7 bits of the
                            opcode and a transaction ID are located in the first byte of the
                            payload body. If the initial 7 bits of the opcode have one of the
                            special escape values 124-127 then an additional byte of opcode is
                            located in the second byte of the payload and the combination
                            uniquely identifies the PDU.
                            (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                            Each Accused Receiver Device is capable of portable operation and,
                            through Bluetooth connectivity, is designed to work with a portable
                            transmitter implementing Bluetooth connectivity.

                            See also, for example:

                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

  a direct conversion       Each Accused Receiver Device has a direct conversion module. For
     module configured      example, Apple promotes the low power consumption characteristics
     to capture packets     of the accused devices.
     and the correct bit    https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     sequence within the    headphones-with-airpods/
     packets aided by
     lowering signal        https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/
     detection error
                            https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-
     through reduced        AirPods-2nd-Generation.html
     intersymbol
     interference coding    https://www.beatsbydre.com/products
     of said audio
     representation         1 GENERAL DESCRIPTION
     signal respective to


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                                          ID #:376
                                          Exhibit A


  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
    said headphone         Bluetooth wireless technology is a short-range communications
    receiver and said      system intended to replace the cable(s) connecting portable and/or
    mobile digital         fixed electronic devices. The key features of Bluetooth wireless
    audio transmitter,     technology are robustness, low power consumption, and low cost.
    said packets           Many features of the core specification are optional, allowing product
    embedded in the        differentiation.
    received spread        (BT Specification 5.0, Vol. 1, Part A, Section 1.)
    spectrum signal, the
    captured packets
    corresponding to       Each Accused Receiver Device relies on packet-based
    the unique user        communication.
    code;                  For example:
                           The physical channel is sub-divided into time units known as slots.
                           Data is transmitted between Bluetooth devices in packets that are
                           positioned in these slots. When circumstances permit, a number of
                           consecutive slots may be allocated to a single packet.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                           3.2.1 (“BR/EDR Generic Packet Structure”).)
                           See also:
                           2.3 PACKET FORMAT
                           Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                           identify different types of PDUs, see Table 5.1. The first 7 bits of the
                           opcode and a transaction ID are located in the first byte of the
                           payload body. If the initial 7 bits of the opcode have one of the
                           special escape values 124-127 then an additional byte of opcode is
                           located in the second byte of the payload and the combination
                           uniquely identifies the PDU.
                           (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)
                           Each Accused Receiver Device decodes transmissions encoded to
                           reduce intersymbol interference. For example:
                           The modulation shall employ square-root raised cosine pulse shaping
                           to generate the equivalent lowpass information-bearing signal v(t).
                           The output of the transmitter shall be a bandpass signal that can be
                           represented as

                                                      (EQ 1)
                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;


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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)


                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)




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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  a digital demodulator   Each Accused Receiver Device uses a digital demodulator configured
     configured for       for independent code division multiple access (CDMA)
     independent          communication.
     CDMA                 Bluetooth is based on FH-CDMA (Frequency Hopping Code
     communication        Division Multiple Access). See Performance Analysis of Bluetooth
     operation;           Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
                          Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
                          see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
                          available at
                          http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                          2014.pdf. See also Wireless Communication Systems: From RF
                          Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
                          Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                          core multiple-access technology in Bluetooth. . . .”).

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.

                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          Devices in a piconet use a specific frequency hopping pattern, which
                          is algorithmically determined by certain fields in the Bluetooth
                          address and clock of the master. The basic hopping pattern is a
                          pseudo-random ordering of the 79 frequencies in the ISM band. The
                          hopping pattern may be adapted to exclude a portion of the
                          frequencies that are used by interfering devices. The adaptive
                          hopping technique improves Bluetooth co-existence with static (non-
                          hopping) ISM systems when these are co-located.

                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets, that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet. Frequency
                          hopping takes place between the transmission or reception of packets.
                          Bluetooth technology provides the effect of full duplex transmission
                          through the use of a Time-Division Duplex (TDD) scheme.



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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices

                           (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                           Piconet Physical Channel), 3.3.1.1.2.)


  a decoder operative to   Each Accused Receiver Device decodes transmissions encoded to
     decode reduced        reduce intersymbol interference. For example:
     intersymbol           The modulation shall employ square-root raised cosine pulse shaping
     interference coding   to generate the equivalent lowpass information-bearing signal v(t).
     of original audio     The output of the transmitter shall be a bandpass signal that can be
     signal                represented as
     representation;

                                                     (EQ 1)


                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                           Inter Symbol Interference (ISI) and raised cosine filtering, available
                           at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)


  a digital-to-analog      Each Accused Receiver Device generates audio output by converting
     converter (DAC)       the received digital signal representation to analog audio.
     generating an audio
     output of said        For example:
     original audio
     signal                LOUDSPEAKER PATH
     representation; and   RLR measurement model




                           (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

  a module adapted to      Each Accused Receiver Device has a speaker to reproduce audio
    reproduce said         output.
    generated audio
    output in response     See also:


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  U.S. Patent 8,131,391                  Accused Transmitter and Receiver Devices
    to the unique user
    code bit sequence      LOUDSPEAKER PATH
    being recognized,      RLR measurement model
    said audio having
    been wirelessly
    transmitted and
    reproduced
    virtually free from
    interference from
    device transmitted
    signals operating in   (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
    the wireless
    headphone
    spectrum.              Apple promotes the high quality and clear sound of each of the
                           Accused Receiver Devices. For example:

                           https://www.apple.com/airpods-2nd-generation/

                           https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                           available-october-30/

                           https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                           headphones-with-airpods/

                           https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                           https://www.apple.com/homepod/

                           https://www.beatsbydre.com/speakers/beats-pill-plus

                           https://www.beatsbydre.com/earphones/beats-x

                           https://www.beatsbydre.com/headphones/solo3-wireless

                           https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                           wireless-earphones-spring-yellow

                           https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                           performance-wireless-earphones-red

                           https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                           cancelling-headphones-more-matte-collection-dark-blue

                           https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                           headphones-the-beats-skyline-collection-midnight-black

                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                           headphones-beats-camo-collection-sand-dune

                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                           https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                           2nd-Generation.html




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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
                            See also:

                            The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                            or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                            employs a frequency hopping transceiver to combat interference and
                            fading and provides many FHSS [frequency hopping spread
                            spectrum] carriers.

                            (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                            See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                            BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.)

  3. A portable wireless    Each Accused Receiver Device includes a wireless headphone having
     digital audio          one or more speakers. These include over-head-type headphones, in-
     system for digital     ear earbud-type headphones and behind-neck-type headphones.
     transmission of an
     original audio         For example, Apple promotes its AirPods and AirPods Pro as
     signal                 headphones.
     representation from
     a portable audio       https://www.apple.com/airpods/
     player to a portable   https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     digital audio          headphones-with-airpods/
     headphone
     receiver, said         https://www.apple.com/shop/product/MWNX2/powerbeats-high-
     portable wireless      performance-wireless-earphones-red
     digital audio
     system comprising:     Each Accused Receiver Device is operative to communicate
                            wirelessly.
                            See also:
                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices. The key features of Bluetooth wireless
                            technology are robustness, low power consumption, and low cost.
                            Many features of the core specification are optional, allowing product
                            differentiation.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                            Each Accused Receiver Device is capable of portable operation and,
                            through Bluetooth connectivity, is designed to work with a portable
                            transmitter implementing Bluetooth connectivity

                            See also, for example:


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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices

                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                            Each Accused Transmitter Device is a product that wirelessly
                            transmits audio data using Bluetooth connectivity.

                            Each Accused Transmitter Device is a digital audio spread spectrum
                            transmitter. For example:

                            The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                            or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                            employs a frequency hopping transceiver to combat interference and
                            fading and provides many FHSS [frequency hopping spread
                            spectrum] carriers.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.1)

                            Apple promotes each Accused Transmitter Device as providing
                            audio, including music.

                            See also:
                            This profile defines the requirements for Bluetooth devices necessary
                            for support of the high quality audio distribution. The requirements
                            are expressed in terms of end-user services, and by defining the
                            features and procedures that are required for interoperability between
                            Bluetooth devices in the Audio Distribution usage model.
                            (Advanced Audio Distribution v1.3.2, Abstract)

  a digital audio           Each Accused Transmitter Device is a product that wirelessly
     transmitter            transmits audio data using Bluetooth connectivity.
     operatively coupled
     to said portable       Each Accused Transmitter Device is a digital audio spread spectrum
     audio player and       transmitter. For example:
     transmitting a
     unique user code       The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     bit sequence with      or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     said original audio    employs a frequency hopping transceiver to combat interference and
     signal                 fading and provides many FHSS [frequency hopping spread
     representation in      spectrum] carriers.
     packet format,         (BT Specification 5.0, Vol. 1, Part A, Section 1.1)
     wherein said digital
     audio transmitter



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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
    operatively coupled    Each Accused Transmitter Device is configured to transmit a unique
    to said audio player   user code. For example:
    is capable of          1.3 ACCESS CODES
    mobile operation,      In the Bluetooth system all transmissions over the physical channel
    said digital audio     begin with an access code. Three different access codes are defined,
    transmitter            see also Section 6.3.1:
    comprising:
                                  • device access code (DAC)
                                  • channel access code (CAC)
                                  • inquiry access code (IAC)

                           All access codes are derived from the LAP of a device address or an
                           inquiry address. The device access code is used during page, page
                           scan and page response substates and shall be derived from the paged
                           device’s BD_ADDR. The channel access code is used in the
                           CONNECTION state, . . ..

                           The access code also indicates to the receiver the arrival of a packet.
                           It is used for timing synchronization and offset compensation. The
                           receiver correlates against the entire synchronization word in the
                           access code, providing very robust signaling.
                           (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                           See also, for example:
                           Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                           device address (BD_ADDR). The address shall be a 48-bit extended
                           unique identifier (EUI-48) created in accordance with section 8.2
                           (“Universal addresses”) of the IEEE 802-2014 standard
                           (http://standards.ieee.org/findstds/standard/802-2014.html).

                           Creation of a valid EUI-48 requires one of the following MAC
                           Address Block types to be obtained from the IEEE Registration
                           Authority:

                           • MAC Address Block Large (MA-L)
                           • MAC Address Block Medium (MA-M)
                           • MAC Address Block Small (MA-S)

                           (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                           See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                           1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.




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  U.S. Patent 8,131,391              Accused Transmitter and Receiver Devices
                           Each Accused Transmitter Device relies on packet-based
                           communication.
                           For example:
                           The physical channel is sub-divided into time units known as slots.
                           Data is transmitted between Bluetooth devices in packets that are
                           positioned in these slots. When circumstances permit, a number of
                           consecutive slots may be allocated to a single packet.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                           3.2.1 (“BR/EDR Generic Packet Structure”).)
                           See also:
                           2.3 PACKET FORMAT
                           Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                           identify different types of PDUs, see Table 5.1. The first 7 bits of the
                           opcode and a transaction ID are located in the first byte of the
                           payload body. If the initial 7 bits of the opcode have one of the
                           special escape values 124-127 then an additional byte of opcode is
                           located in the second byte of the payload and the combination
                           uniquely identifies the PDU.
                           (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                           Each Accused Transmitter Device is capable of mobile operation and,
                           through Bluetooth connectivity, is designed to work with a portable
                           receiver implementing Bluetooth connectivity.

                           See also, for example:

                           1 GENERAL DESCRIPTION
                           Bluetooth wireless technology is a short-range communications
                           system intended to replace the cable(s) connecting portable and/or
                           fixed electronic devices.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.)

  a encoder operative to   Each Accused Transmitter Device encodes transmissions to reduce
     encode said           intersymbol interference. For example:
     original audio        The modulation shall employ square-root raised cosine pulse shaping
     signal                to generate the equivalent lowpass information-bearing signal v(t).
     representation to     The output of the transmitter shall be a bandpass signal that can be
     reduce intersymbol    represented as
     interference;

                                                      (EQ 1)



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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices

                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                          Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                          Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                          Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                          http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

  a digital modulator     Each Accused Transmitter Device includes a digital modulator
     module configured    configured for independent code division multiple access (CDMA)
     for independent      communication.
     CDMA
                          Bluetooth is based on FH-CDMA (Frequency Hopping Code
     communication
                          Division Multiple Access). See Performance Analysis of Bluetooth
     operation;           Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
                          Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
                          see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
                          available at
                          http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                          2014.pdf. See also Wireless Communication Systems: From RF
                          Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
                          Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                          core multiple-access technology in Bluetooth. . . .”).

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.

                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          Devices in a piconet use a specific frequency hopping pattern, which
                          is algorithmically determined by certain fields in the Bluetooth
                          address and clock of the master. The basic hopping pattern is a
                          pseudo-random ordering of the 79 frequencies in the ISM band. The
                          hopping pattern may be adapted to exclude a portion of the
                          frequencies that are used by interfering devices. The adaptive
                          hopping technique improves Bluetooth co-existence with static (non-
                          hopping) ISM systems when these are co-located.




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  U.S. Patent 8,131,391                  Accused Transmitter and Receiver Devices
                            The physical channel is sub-divided into time units known as slots.
                            Data is transmitted between Bluetooth devices in packets, that are
                            positioned in these slots. When circumstances permit, a number of
                            consecutive slots may be allocated to a single packet. Frequency
                            hopping takes place between the transmission or reception of packets.
                            Bluetooth technology provides the effect of full duplex transmission
                            through the use of a Time-Division Duplex (TDD) scheme.

                            (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                            Piconet Physical Channel), 3.3.1.1.2.)

  said digital audio        Each Accused Receiver Device is a product that wirelessly receives
     transmitter            audio data from a transmitter using Bluetooth connectivity.
     configured for
     direct digital         Each Accused Receiver Device is a digital audio spread spectrum
     wireless               receiver. For example:
     communication
     with said portable     The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     digital audio          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     headphone              employs a frequency hopping transceiver to combat interference and
     receiver, said         fading and provides many FHSS [frequency hopping spread
     portable digital       spectrum] carriers.
     audio headphone        (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
     receiver
     comprising:

  a direct conversion       Each Accused Receiver Device has a direct conversion module. For
     module configured      example, Apple promotes the low power consumption characteristics
     to capture packets     of the accused devices.
     and the correct bit    https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     sequence within the    headphones-with-airpods/
     packets aided by
     lowering signal        https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/
     detection error
                            https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-
     through reduced        AirPods-2nd-Generation.html
     intersymbol
     interference coding    https://www.beatsbydre.com/products
     of said audio
     representation
     signal respective to   1 GENERAL DESCRIPTION
     said headphone and     Bluetooth wireless technology is a short-range communications
     mobile said digital    system intended to replace the cable(s) connecting portable and/or
     audio transmitter      fixed electronic devices. The key features of Bluetooth wireless
     operatively coupled    technology are robustness, low power consumption, and low cost.
     to said audio


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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
    player, said packets   Many features of the core specification are optional, allowing product
    embedded in the        differentiation.
    received spread        (BT Specification 5.0, Vol. 1, Part A, Section 1.)
    spectrum signal, the
    captured packets       Each Accused Receiver Device relies on packet-based
    corresponding to       communication.
    the unique user
    code;                  For example:
                           The physical channel is sub-divided into time units known as slots.
                           Data is transmitted between Bluetooth devices in packets that are
                           positioned in these slots. When circumstances permit, a number of
                           consecutive slots may be allocated to a single packet.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                           3.2.1 (“BR/EDR Generic Packet Structure”).)
                           See also:
                           2.3 PACKET FORMAT
                           Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                           identify different types of PDUs, see Table 5.1. The first 7 bits of the
                           opcode and a transaction ID are located in the first byte of the
                           payload body. If the initial 7 bits of the opcode have one of the
                           special escape values 124-127 then an additional byte of opcode is
                           located in the second byte of the payload and the combination
                           uniquely identifies the PDU.
                           (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                           Each Accused Receiver Device decodes transmissions encoded to
                           reduce intersymbol interference. For example:
                           The modulation shall employ square-root raised cosine pulse shaping
                           to generate the equivalent lowpass information-bearing signal v(t).
                           The output of the transmitter shall be a bandpass signal that can be
                           represented as

                                                      (EQ 1)


                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;




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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)




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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  a digital demodulator   Each Accused Receiver Device includes a digital demodulator
     configured for       configured for independent code division multiple access (CDMA)
     independent          communication.
     CDMA                 Bluetooth is based on FH-CDMA (Frequency Hopping Code
     communication        Division Multiple Access). See Performance Analysis of Bluetooth
     operation;           Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
                          Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
                          see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
                          available at
                          http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                          2014.pdf. See also Wireless Communication Systems: From RF
                          Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
                          Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                          core multiple-access technology in Bluetooth. . . .”).

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.

                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          Devices in a piconet use a specific frequency hopping pattern, which
                          is algorithmically determined by certain fields in the Bluetooth
                          address and clock of the master. The basic hopping pattern is a
                          pseudo-random ordering of the 79 frequencies in the ISM band. The
                          hopping pattern may be adapted to exclude a portion of the
                          frequencies that are used by interfering devices. The adaptive
                          hopping technique improves Bluetooth co-existence with static (non-
                          hopping) ISM systems when these are co-located.

                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets, that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet. Frequency
                          hopping takes place between the transmission or reception of packets.
                          Bluetooth technology provides the effect of full duplex transmission
                          through the use of a Time-Division Duplex (TDD) scheme.



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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
                           (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                           Piconet Physical Channel), 3.3.1.1.2.)

  a decoder operative to   Each Accused Receiver Device decodes the applied reduced
     decode the applied    intersymbol interference coding. For example:
     reduced               The modulation shall employ square-root raised cosine pulse shaping
     intersymbol           to generate the equivalent lowpass information-bearing signal v(t).
     interference coding   The output of the transmitter shall be a bandpass signal that can be
     of said original      represented as
     audio signal
     representation;
                                                     (EQ 1)


                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                           Inter Symbol Interference (ISI) and raised cosine filtering, available
                           at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)


  a digital-to-analog      Each Accused Receiver Device generates audio output by converting
     converter (DAC)       the received digital signal representation to analog audio.
     generating an audio
     output of said        For example:
     original audio
     signal                LOUDSPEAKER PATH
     representation; and   RLR measurement model




                           (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

  a module adapted to      Each Accused Receiver Device has a speaker.
    reproduce said
    generated audio        See also:
    output, said audio
    having been            LOUDSPEAKER PATH
    wirelessly


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  U.S. Patent 8,131,391             Accused Transmitter and Receiver Devices
    transmitted from     RLR measurement model
    said portable audio
    player and
    reproduced
    virtually free from
    interference from
    device transmitted
    signals operating in
    the wireless digital (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
    audio system
    spectrum.
                         Apple promotes the high quality and clear sound of each of the
                         Accused Receiver Devices. For example:

                          https://www.apple.com/airpods-2nd-generation/

                          https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                          available-october-30/

                          https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                          headphones-with-airpods/

                          https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                          https://www.apple.com/homepod/

                          https://www.beatsbydre.com/speakers/beats-pill-plus

                          https://www.beatsbydre.com/earphones/beats-x

                          https://www.beatsbydre.com/headphones/solo3-wireless

                          https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                          wireless-earphones-spring-yellow

                          https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                          performance-wireless-earphones-red

                          https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                          cancelling-headphones-more-matte-collection-dark-blue

                          https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                          headphones-the-beats-skyline-collection-midnight-black

                          https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                          headphones-beats-camo-collection-sand-dune

                          https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                          https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                          2nd-Generation.html

                          See also:



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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
                            The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                            or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                            employs a frequency hopping transceiver to combat interference and
                            fading and provides many FHSS [frequency hopping spread
                            spectrum] carriers.

                            (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
                            See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                            BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.)

  4. A portable wireless    Each Accused Receiver Device is a product that wirelessly receives
     digital audio          audio data using Bluetooth connectivity.
     system for digital
     transmission of an     Each Accused Receiver Device is a digital audio spread spectrum
     original audio         receiver. For example:
     signal
     representation from    The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     a portable audio       or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     player to a digital    employs a frequency hopping transceiver to combat interference and
     audio receiver, said   fading and provides many FHSS [frequency hopping spread
     portable wireless      spectrum] carriers.
     digital audio          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
     system comprising:
                            Each Accused Receiver Device is operative to communicate
                            wirelessly.
                            See also:
                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices. The key features of Bluetooth wireless
                            technology are robustness, low power consumption, and low cost.
                            Many features of the core specification are optional, allowing product
                            differentiation.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                            Each Accused Receiver Device is capable of portable operation and,
                            through Bluetooth connectivity, is designed to work with a portable
                            transmitter implementing Bluetooth connectivity.

                            See also, for example:

                            1 GENERAL DESCRIPTION




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  U.S. Patent 8,131,391                  Accused Transmitter and Receiver Devices
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                            Each Accused Transmitter Device is a product that wirelessly
                            transmits audio data using Bluetooth connectivity.

                            Each Accused Transmitter Device is a digital audio spread spectrum
                            transmitter. For example:

                            The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                            or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                            employs a frequency hopping transceiver to combat interference and
                            fading and provides many FHSS [frequency hopping spread
                            spectrum] carriers.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.1)

                            Apple promotes each Accused Transmitter Device as providing
                            audio, including music.

                            See also:
                            This profile defines the requirements for Bluetooth devices necessary
                            for support of the high quality audio distribution. The requirements
                            are expressed in terms of end-user services, and by defining the
                            features and procedures that are required for interoperability between
                            Bluetooth devices in the Audio Distribution usage model.
                            (Advanced Audio Distribution v1.3.2, Abstract)

  a digital audio           Each Accused Transmitter Device is a product that wirelessly
     transmitter            transmits audio data using Bluetooth connectivity.
     operatively coupled
     to said audio player   Each Accused Transmitter Device is a digital audio spread spectrum
     and transmitting a     transmitter. For example:
     unique user code
     with said original     The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     audio signal           or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     representation in      employs a frequency hopping transceiver to combat interference and
     packet format,         fading and provides many FHSS [frequency hopping spread
     wherein said digital   spectrum] carriers.
     audio transmitter      (BT Specification 5.0, Vol. 1, Part A, Section 1.1)
     coupled to said
     audio player is        Each Accused Transmitter Device is configured to transmit a unique
     capable of being       user code. For example:
     moved in any           1.3 ACCESS CODES


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  U.S. Patent 8,131,391              Accused Transmitter and Receiver Devices
    direction during    In the Bluetooth system all transmissions over the physical channel
    operation, said     begin with an access code. Three different access codes are defined,
    digital audio       see also Section 6.3.1:
    transmitter
    comprising:                 • device access code (DAC)
                                • channel access code (CAC)
                                • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.


                          Each Accused Transmitter Device relies on packet-based
                          communication.
                          For example:



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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                          3.2.1 (“BR/EDR Generic Packet Structure”).)
                          See also:
                          2.3 PACKET FORMAT
                          Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                          identify different types of PDUs, see Table 5.1. The first 7 bits of the
                          opcode and a transaction ID are located in the first byte of the
                          payload body. If the initial 7 bits of the opcode have one of the
                          special escape values 124-127 then an additional byte of opcode is
                          located in the second byte of the payload and the combination
                          uniquely identifies the PDU.
                          (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                          Each Accused Transmitter Device is capable of being moved in any
                          direction during operation and, through Bluetooth connectivity, is
                          designed to work with a portable receiver implementing Bluetooth
                          connectivity.

                          See also, for example:

                          1 GENERAL DESCRIPTION
                          Bluetooth wireless technology is a short-range communications
                          system intended to replace the cable(s) connecting portable and/or
                          fixed electronic devices.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.)

  an encoder operative    Each Accused Transmitter Device encodes transmissions to reduce
    to encode said        intersymbol interference. For example:
    original audio        The modulation shall employ square-root raised cosine pulse shaping
    signal                to generate the equivalent lowpass information-bearing signal v(t).
    representation to     The output of the transmitter shall be a bandpass signal that can be
    reduce intersymbol    represented as
    interference;

                                                     (EQ 1)
                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                          Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                          Raised Cosine (RRC) Filters and Pulse Shaping in Communication



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                              Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                              http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                              Inter Symbol Interference (ISI) and raised cosine filtering, available
                              at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

  a digital modulator         Each Accused Transmitter Device includes a digital modulator
     module configured        configured for independent code division multiple access (CDMA)
     for independent          communication.
     code division            Bluetooth is based on FH-CDMA (Frequency Hopping Code
     multiple access          Division Multiple Access). See Performance Analysis of Bluetooth
     (CDMA)                   Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
     communication            Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
     operation and            see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
     utilizing differential   available at
     phase shift keying       http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
     (DPSK) to                2014.pdf. See also Wireless Communication Systems: From RF
     modulate said            Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
     original audio           Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
     signal                   core multiple-access technology in Bluetooth. . . .”).
     representation;
                              See also:

                              The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                              or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                              employs a frequency hopping transceiver to combat interference and
                              fading and provides many FHSS [frequency hopping spread
                              spectrum] carriers.

                              (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                              Devices in a piconet use a specific frequency hopping pattern, which
                              is algorithmically determined by certain fields in the Bluetooth
                              address and clock of the master. The basic hopping pattern is a
                              pseudo-random ordering of the 79 frequencies in the ISM band. The
                              hopping pattern may be adapted to exclude a portion of the
                              frequencies that are used by interfering devices. The adaptive
                              hopping technique improves Bluetooth co-existence with static (non-
                              hopping) ISM systems when these are co-located.

                              The physical channel is sub-divided into time units known as slots.
                              Data is transmitted between Bluetooth devices in packets, that are
                              positioned in these slots. When circumstances permit, a number of
                              consecutive slots may be allocated to a single packet. Frequency
                              hopping takes place between the transmission or reception of packets.



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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
                           Bluetooth technology provides the effect of full duplex transmission
                           through the use of a Time-Division Duplex (TDD) scheme.

                           (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                           Piconet Physical Channel), 3.3.1.1.2.)

                           Each Accused Transmitter Device performs at least one of a plurality
                           of modulations on a representation of an audio signal, wherein the
                           plurality of modulations includes a differential phase shift keying
                           (DPSK) modulation.

                           For example:

                           3.2.1 Modulation Characteristics
                           During access code and packet header transmission the Basic Rate
                           GFSK modulation mode shall be used. During the transmission of the
                           synchronization sequence, payload, and trailer sequence a PSK type
                           of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
                           used. The following subsections specify the PSK modulation for this
                           transmission.

                           3.2.1.1 Modulation Method Overview
                           The PSK modulation format defined for the 2 Mb/s transmission shall
                           be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
                           DQPSK).

                           The PSK modulation format defined for the 3 Mb/s transmission shall
                           be differential encoded 8-ary phase shift keying (8DPSK).

                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                           See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2,
                           4.2; BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

  said digital audio       Each Accused Receiver Device is a product that wirelessly receives
     receiver capable of   audio data using Bluetooth connectivity.
     being moved in any
     direction during      Each Accused Receiver Device is a digital audio spread spectrum
     operation and in      receiver. For example:
     direct wireless
     communication         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     with said digital     or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     audio transmitter,    employs a frequency hopping transceiver to combat interference and
     said digital audio    fading and provides many FHSS [frequency hopping spread
                           spectrum] carriers.



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  U.S. Patent 8,131,391             Accused Transmitter and Receiver Devices
    receiver            (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
    comprising:
                        Each Accused Receiver Device is capable of being moved in any
                        direction during operation and, through Bluetooth connectivity, is
                        designed to work with a portable transmitter implementing Bluetooth
                        connectivity.

                            See also, for example:

                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                            Each Accused Transmitter Device is a product that wirelessly
                            transmits audio data using Bluetooth connectivity.

                            Each Accused Transmitter Device is a digital audio spread spectrum
                            transmitter. For example:

                            The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                            or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                            employs a frequency hopping transceiver to combat interference and
                            fading and provides many FHSS [frequency hopping spread
                            spectrum] carriers.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.1)

  a direct conversion       Each Accused Receiver Device has a direct conversion module. For
     module configured      example, Apple promotes the low power consumption characteristics
     to capture packets     of the accused devices.
     and the correct bit    https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     sequence within the    headphones-with-airpods/
     packets aided by
     lowering signal        https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/
     detection error
                            https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-
     through reduced        AirPods-2nd-Generation.html
     intersymbol
     interference coding    https://www.beatsbydre.com/products
     of said audio
     representation
     signal respective to   1 GENERAL DESCRIPTION
     said mobile digital    Bluetooth wireless technology is a short-range communications
     audio receiver and     system intended to replace the cable(s) connecting portable and/or
     mobile said digital    fixed electronic devices. The key features of Bluetooth wireless
                            technology are robustness, low power consumption, and low cost.


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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
    audio transmitter      Many features of the core specification are optional, allowing product
    operatively coupled    differentiation.
    to said audio          (BT Specification 5.0, Vol. 1, Part A, Section 1.)
    player, said packets
    embedded in the        Each Accused Receiver Device relies on packet-based
    received spread        communication.
    spectrum signal, the
    captured packets       For example:
    corresponding to       The physical channel is sub-divided into time units known as slots.
    the unique user        Data is transmitted between Bluetooth devices in packets that are
    code;                  positioned in these slots. When circumstances permit, a number of
                           consecutive slots may be allocated to a single packet.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                           3.2.1 (“BR/EDR Generic Packet Structure”).)
                           See also:
                           2.3 PACKET FORMAT
                           Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                           identify different types of PDUs, see Table 5.1. The first 7 bits of the
                           opcode and a transaction ID are located in the first byte of the
                           payload body. If the initial 7 bits of the opcode have one of the
                           special escape values 124-127 then an additional byte of opcode is
                           located in the second byte of the payload and the combination
                           uniquely identifies the PDU.
                           (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                           Each Accused Receiver Device decodes transmissions encoded to
                           reduce intersymbol interference. For example:
                           The modulation shall employ square-root raised cosine pulse shaping
                           to generate the equivalent lowpass information-bearing signal v(t).
                           The output of the transmitter shall be a bandpass signal that can be
                           represented as

                                                      (EQ 1)
                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                           Inter Symbol Interference (ISI) and raised cosine filtering, available
                           at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)



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  U.S. Patent 8,131,391              Accused Transmitter and Receiver Devices
                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.




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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
  a digital demodulator   Each Accused Receiver Device includes a digital demodulator
     configured for       configured for independent code division multiple access (CDMA)
     independent          communication.
     CDMA                 Bluetooth is based on FH-CDMA (Frequency Hopping Code
     communication        Division Multiple Access). See Performance Analysis of Bluetooth
     operation;           Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
                          Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
                          see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
                          available at
                          http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                          2014.pdf. See also Wireless Communication Systems: From RF
                          Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
                          Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                          core multiple-access technology in Bluetooth. . . .”).

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.

                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          Devices in a piconet use a specific frequency hopping pattern, which
                          is algorithmically determined by certain fields in the Bluetooth
                          address and clock of the master. The basic hopping pattern is a
                          pseudo-random ordering of the 79 frequencies in the ISM band. The
                          hopping pattern may be adapted to exclude a portion of the
                          frequencies that are used by interfering devices. The adaptive
                          hopping technique improves Bluetooth co-existence with static (non-
                          hopping) ISM systems when these are co-located.

                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets, that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet. Frequency
                          hopping takes place between the transmission or reception of packets.
                          Bluetooth technology provides the effect of full duplex transmission
                          through the use of a Time-Division Duplex (TDD) scheme.

                          (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                          Piconet Physical Channel), 3.3.1.1.2.)



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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices

  a decoder operative to   Each Accused Receiver Device decodes the applied reduced
     decode the applied    intersymbol interference coding. For example:
     reduced inter-        The modulation shall employ square-root raised cosine pulse shaping
     symbol interference   to generate the equivalent lowpass information-bearing signal v(t).
     coding of said        The output of the transmitter shall be a bandpass signal that can be
     original audio        represented as
     signal
     representation;
                                                     (EQ 1)


                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                           Inter Symbol Interference (ISI) and raised cosine filtering, available
                           at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

  a digital-to-analog      Each Accused Receiver Device generates audio output by converting
     converter             the received digital signal representation to analog audio.
     generating an audio
     output of said        For example:
     original audio
     signal                LOUDSPEAKER PATH
     representation; and   RLR measurement model




                           (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

  a module adapted to      Each Accused Receiver Device has a speaker.
    reproduce said
    generated audio        See also:
    output, said audio
    having been            LOUDSPEAKER PATH
    wirelessly
                           RLR measurement model
    transmitted from
    said audio player


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  U.S. Patent 8,131,391             Accused Transmitter and Receiver Devices
    virtually free from
    interference from
    device transmitted
    signals operating in
    the wireless digital
    audio system
    spectrum.            (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)


                         Apple promotes the high quality and clear sound of each of the
                         Accused Receiver Devices. For example:

                         https://www.apple.com/airpods-2nd-generation/

                         https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                         available-october-30/

                         https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                         headphones-with-airpods/

                         https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                         https://www.apple.com/homepod/

                         https://www.beatsbydre.com/speakers/beats-pill-plus

                         https://www.beatsbydre.com/earphones/beats-x

                         https://www.beatsbydre.com/headphones/solo3-wireless

                         https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                         wireless-earphones-spring-yellow

                         https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                         performance-wireless-earphones-red

                         https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                         cancelling-headphones-more-matte-collection-dark-blue

                         https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                         headphones-the-beats-skyline-collection-midnight-black

                         https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                         headphones-beats-camo-collection-sand-dune

                         https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                         https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                         2nd-Generation.html

                         See also:

                         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                         or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system


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  U.S. Patent 8,131,391                  Accused Transmitter and Receiver Devices
                             employs a frequency hopping transceiver to combat interference and
                             fading and provides many FHSS [frequency hopping spread
                             spectrum] carriers.
                             (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                             See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                             BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.

  5. A wireless digital      Each Accused Receiver Device is a product that wirelessly receives
     audio receiver,         audio data using Bluetooth connectivity.
     capable of mobile
     operation,              Each Accused Receiver Device is a digital audio spread spectrum
     configured to           receiver. For example:
     receive a unique
     user code and a         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     original audio          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     signal                  employs a frequency hopping transceiver to combat interference and
     representation in       fading and provides many FHSS [frequency hopping spread
     the form of packets,    spectrum] carriers.
     the wireless digital    (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
     audio receiver
     further configured      Each Accused Receiver Device is operative to communicate
     to be directly          wirelessly.
     communicable with       See also:
     a mobile digital
     audio transmitter,      1 GENERAL DESCRIPTION
     said wireless digital   Bluetooth wireless technology is a short-range communications
     audio receiver          system intended to replace the cable(s) connecting portable and/or
     comprising:             fixed electronic devices. The key features of Bluetooth wireless
                             technology are robustness, low power consumption, and low cost.
                             Many features of the core specification are optional, allowing product
                             differentiation.
                             (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                             Each Accused Receiver Device is capable of mobile operation and,
                             through Bluetooth connectivity, is designed to work with a mobile
                             transmitter implementing Bluetooth connectivity.

                             See also, for example:

                             1 GENERAL DESCRIPTION
                             Bluetooth wireless technology is a short-range communications
                             system intended to replace the cable(s) connecting portable and/or
                             fixed electronic devices.
                             (BT Specification 5.0, Vol. 1, Part A, Section 1.)



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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices

                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.




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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
                            Each Accused Receiver Device relies on packet-based
                            communication.
                            For example:
                            The physical channel is sub-divided into time units known as slots.
                            Data is transmitted between Bluetooth devices in packets that are
                            positioned in these slots. When circumstances permit, a number of
                            consecutive slots may be allocated to a single packet.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                            3.2.1 (“BR/EDR Generic Packet Structure”).)
                            See also:
                            2.3 PACKET FORMAT
                            Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                            identify different types of PDUs, see Table 5.1. The first 7 bits of the
                            opcode and a transaction ID are located in the first byte of the
                            payload body. If the initial 7 bits of the opcode have one of the
                            special escape values 124-127 then an additional byte of opcode is
                            located in the second byte of the payload and the combination
                            uniquely identifies the PDU.
                            (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

  a direct conversion       Each Accused Receiver Device has a direct conversion module. For
     module configured      example, Apple promotes the low power consumption characteristics
     to capture packets     of the accused devices.
     and the correct bit    https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     sequence within the    headphones-with-airpods/
     packets aided by
     lowering signal        https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/
     detection error
                            https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-
     through reduced        AirPods-2nd-Generation.html
     intersymbol
     interference coding    https://www.beatsbydre.com/products
     of said audio
     representation
     signal respective to   1 GENERAL DESCRIPTION
     mobile said digital    Bluetooth wireless technology is a short-range communications
     audio receiver and     system intended to replace the cable(s) connecting portable and/or
     said mobile digital    fixed electronic devices. The key features of Bluetooth wireless
     audio transmitter,     technology are robustness, low power consumption, and low cost.
     said packets           Many features of the core specification are optional, allowing product
     embedded in a          differentiation.
     received spread        (BT Specification 5.0, Vol. 1, Part A, Section 1.)
     spectrum signal, the


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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
    captured packets      Each Accused Receiver Device decodes transmissions encoded to
    corresponding to      reduce intersymbol interference. For example:
    the unique user       The modulation shall employ square-root raised cosine pulse shaping
    code;                 to generate the equivalent lowpass information-bearing signal v(t).
                          The output of the transmitter shall be a bandpass signal that can be
                          represented as

                                                     (EQ 1)
                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                          Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                          Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                          Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                          http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

                          Each Accused Receiver Device relies on packet-based
                          communication.
                          For example:
                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                          3.2.1 (“BR/EDR Generic Packet Structure”).)
                          See also:
                          2.3 PACKET FORMAT
                          Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                          identify different types of PDUs, see Table 5.1. The first 7 bits of the
                          opcode and a transaction ID are located in the first byte of the
                          payload body. If the initial 7 bits of the opcode have one of the
                          special escape values 124-127 then an additional byte of opcode is
                          located in the second byte of the payload and the combination
                          uniquely identifies the PDU.
                          (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES



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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  a digital demodulator   Each Accused Receiver Device includes a digital demodulator
     configured for       configured for independent code division multiple access (CDMA)
     independent code     communication.
     division multiple    Bluetooth is based on FH-CDMA (Frequency Hopping Code
     access               Division Multiple Access). See Performance Analysis of Bluetooth


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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
    communication       Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
    operation;          Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
                        see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
                        available at
                        http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                        2014.pdf. See also Wireless Communication Systems: From RF
                        Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
                        Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                        core multiple-access technology in Bluetooth. . . .”).

                           See also:

                           The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                           or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                           employs a frequency hopping transceiver to combat interference and
                           fading and provides many FHSS [frequency hopping spread
                           spectrum] carriers.

                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                           Devices in a piconet use a specific frequency hopping pattern, which
                           is algorithmically determined by certain fields in the Bluetooth
                           address and clock of the master. The basic hopping pattern is a
                           pseudo-random ordering of the 79 frequencies in the ISM band. The
                           hopping pattern may be adapted to exclude a portion of the
                           frequencies that are used by interfering devices. The adaptive
                           hopping technique improves Bluetooth co-existence with static (non-
                           hopping) ISM systems when these are co-located.

                           The physical channel is sub-divided into time units known as slots.
                           Data is transmitted between Bluetooth devices in packets, that are
                           positioned in these slots. When circumstances permit, a number of
                           consecutive slots may be allocated to a single packet. Frequency
                           hopping takes place between the transmission or reception of packets.
                           Bluetooth technology provides the effect of full duplex transmission
                           through the use of a Time-Division Duplex (TDD) scheme.

                           (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                           Piconet Physical Channel), 3.3.1.1.2.)

  a decoder operative to   Each Accused Receiver Device decodes transmissions encoded to
     decode reduced        reduce intersymbol interference. For example:
     intersymbol
                           The modulation shall employ square-root raised cosine pulse shaping
     interference coding
                           to generate the equivalent lowpass information-bearing signal v(t).
     of said original



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  U.S. Patent 8,131,391             Accused Transmitter and Receiver Devices
    audio signal        The output of the transmitter shall be a bandpass signal that can be
    representation;     represented as

                                                      (EQ 1)
                            (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                            Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                            Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                            Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                            http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                            Inter Symbol Interference (ISI) and raised cosine filtering, available
                            at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf

  a digital-to-analog       Each Accused Receiver Device generates audio output by converting
     converter (DAC)        the received digital signal representation to analog audio.
     generating an audio
     output of said         For example:
     original audio
     signal                 LOUDSPEAKER PATH
     representation; and    RLR measurement model




                            (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

  a module adapted to       Each Accused Receiver Device has a speaker.
    reproduce said
    generated audio         See also:
    output, said audio
    having been             LOUDSPEAKER PATH
    wirelessly              RLR measurement model
    transmitted from a
    portable audio
    player virtually free
    from interference
    from device
    transmitted signals
    operating in the
    digital wireless        (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
    audio receiver
    spectrum.


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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices

                          Apple promotes the high quality and clear sound of each of the
                          Accused Receiver Devices. For example:

                          https://www.apple.com/airpods-2nd-generation/

                          https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                          available-october-30/

                          https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                          headphones-with-airpods/

                          https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                          https://www.apple.com/homepod/

                          https://www.beatsbydre.com/speakers/beats-pill-plus

                          https://www.beatsbydre.com/earphones/beats-x

                          https://www.beatsbydre.com/headphones/solo3-wireless

                          https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                          wireless-earphones-spring-yellow

                          https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                          performance-wireless-earphones-red

                          https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                          cancelling-headphones-more-matte-collection-dark-blue

                          https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                          headphones-the-beats-skyline-collection-midnight-black

                          https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                          headphones-beats-camo-collection-sand-dune

                          https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                          https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                          2nd-Generation.html

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                          BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.


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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
  6. A wireless digital    Each Accused Receiver Device includes a wireless headphone having
     audio headphone       one or more speakers. These include over-head-type headphones, in-
     for receipt of a      ear earbud-type headphones and behind-neck-type headphones.
     unique user code
     and a digital audio   For example, Apple promotes its AirPods and AirPods Pro as
     music                 headphones.
     representation
     signal in the form    https://www.apple.com/airpods/
     of a packet, said     https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     wireless digital      headphones-with-airpods/
     audio headphone
     comprising:           https://www.apple.com/shop/product/MWNX2/powerbeats-high-
                           performance-wireless-earphones-red


                           Each Accused Receiver Device is configured to receive a unique user
                           code. For example:
                           1.3 ACCESS CODES
                           In the Bluetooth system all transmissions over the physical channel
                           begin with an access code. Three different access codes are defined,
                           see also Section 6.3.1:

                                  • device access code (DAC)
                                  • channel access code (CAC)
                                  • inquiry access code (IAC)

                           All access codes are derived from the LAP of a device address or an
                           inquiry address. The device access code is used during page, page
                           scan and page response substates and shall be derived from the paged
                           device’s BD_ADDR. The channel access code is used in the
                           CONNECTION state, . . ..

                           The access code also indicates to the receiver the arrival of a packet.
                           It is used for timing synchronization and offset compensation. The
                           receiver correlates against the entire synchronization word in the
                           access code, providing very robust signaling.
                           (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                           See also, for example:
                           Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                           device address (BD_ADDR). The address shall be a 48-bit extended
                           unique identifier (EUI-48) created in accordance with section 8.2
                           (“Universal addresses”) of the IEEE 802-2014 standard
                           (http://standards.ieee.org/findstds/standard/802-2014.html).




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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                          Each Accused Receiver Device relies on packet-based
                          communication.
                          For example:
                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                          3.2.1 (“BR/EDR Generic Packet Structure”).)
                          See also:
                          2.3 PACKET FORMAT
                          Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                          identify different types of PDUs, see Table 5.1. The first 7 bits of the
                          opcode and a transaction ID are located in the first byte of the
                          payload body. If the initial 7 bits of the opcode have one of the
                          special escape values 124-127 then an additional byte of opcode is
                          located in the second byte of the payload and the combination
                          uniquely identifies the PDU.
                          (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                          Apple promotes each Accused Receiver Device as providing clear
                          and high quality audio, including voice and music.

                          For example, Apple promotes its W1 and H1 chips, which operate in
                          the Accused Receiver Devices, as providing clear, detailed, high
                          quality sound for calls and music.

                          See also:



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  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
                           This profile defines the requirements for Bluetooth devices necessary
                           for support of the high quality audio distribution. The requirements
                           are expressed in terms of end-user services, and by defining the
                           features and procedures that are required for interoperability between
                           Bluetooth devices in the Audio Distribution usage model.
                           (Advanced Audio Distribution v1.3.2, Abstract)

                           See also:

                           https://www.apple.com/airpods-2nd-generation/

                           https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                           available-october-30/

                           https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                           headphones-with-airpods/

                           https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                           https://www.apple.com/homepod/

                           https://www.beatsbydre.com/speakers/beats-pill-plus

                           https://www.beatsbydre.com/earphones/beats-x

                           https://www.beatsbydre.com/headphones/solo3-wireless

                           https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                           wireless-earphones-spring-yellow

                           https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                           performance-wireless-earphones-red

                           https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                           cancelling-headphones-more-matte-collection-dark-blue

                           https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                           headphones-the-beats-skyline-collection-midnight-black

                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                           headphones-beats-camo-collection-sand-dune

                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                           https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                           2nd-Generation.html


  a mobile digital audio   Each Accused Receiver Device is a product that wirelessly receives
    receiver configured    audio data using Bluetooth connectivity.
    for direct digital
    wireless               Each Accused Receiver Device is a digital audio spread spectrum
    communication          receiver. For example:
    with a mobile


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  U.S. Patent 8,131,391             Accused Transmitter and Receiver Devices
    digital audio       The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    transmitter;        or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                        employs a frequency hopping transceiver to combat interference and
                        fading and provides many FHSS [frequency hopping spread
                        spectrum] carriers.
                        (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                            Each Accused Receiver Device is capable of mobile operation and,
                            through Bluetooth connectivity, is designed to work with a mobile
                            transmitter implementing Bluetooth connectivity.

                            See also, for example:

                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

  a direct conversion       Each Accused Receiver Device has a direct conversion module. For
     module configured      example, Apple promotes the low power consumption characteristics
     to capture packets     of the accused devices.
     and the correct bit    https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     sequence within the    headphones-with-airpods/
     packets aided by
     lowering signal        https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/
     detection error
                            https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-
     through reduced        AirPods-2nd-Generation.html
     intersymbol
     interference coding    https://www.beatsbydre.com/products
     of said audio
     representation
     signal respective to   1 GENERAL DESCRIPTION
     said headphone and     Bluetooth wireless technology is a short-range communications
     said mobile digital    system intended to replace the cable(s) connecting portable and/or
     audio transmitter,     fixed electronic devices. The key features of Bluetooth wireless
     said packets           technology are robustness, low power consumption, and low cost.
     embedded in the        Many features of the core specification are optional, allowing product
     received spread        differentiation.
     spectrum signal, the   (BT Specification 5.0, Vol. 1, Part A, Section 1.)
     captured packets
     corresponding to       Each Accused Receiver Device decodes transmissions encoded to
     the unique user        reduce intersymbol interference. For example:
     code;
                            The modulation shall employ square-root raised cosine pulse shaping
                            to generate the equivalent lowpass information-bearing signal v(t).


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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
                          The output of the transmitter shall be a bandpass signal that can be
                          represented as

                                                     (EQ 1)
                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                          Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                          Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                          Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                          http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

                          Each Accused Receiver Device relies on packet-based
                          communication.
                          For example:
                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                          3.2.1 (“BR/EDR Generic Packet Structure”).)
                          See also:
                          2.3 PACKET FORMAT
                          Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                          identify different types of PDUs, see Table 5.1. The first 7 bits of the
                          opcode and a transaction ID are located in the first byte of the
                          payload body. If the initial 7 bits of the opcode have one of the
                          special escape values 124-127 then an additional byte of opcode is
                          located in the second byte of the payload and the combination
                          uniquely identifies the PDU.
                          (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)


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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  a digital demodulator   Each Accused Receiver Device uses a digital demodulator configured
     module configured    for independent code division multiple access (CDMA)
     for independent      communication.
     code division        Bluetooth is based on FH-CDMA (Frequency Hopping Code
     multiple access      Division Multiple Access). See Performance Analysis of Bluetooth
     (CDMA)               Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
     communication        Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
     operation;           see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
                          available at
                          http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                          2014.pdf. See also Wireless Communication Systems: From RF


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  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
                           Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
                           Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                           core multiple-access technology in Bluetooth. . . .”).

                           See also:

                           The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                           or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                           employs a frequency hopping transceiver to combat interference and
                           fading and provides many FHSS [frequency hopping spread
                           spectrum] carriers.

                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                           Devices in a piconet use a specific frequency hopping pattern, which
                           is algorithmically determined by certain fields in the Bluetooth
                           address and clock of the master. The basic hopping pattern is a
                           pseudo-random ordering of the 79 frequencies in the ISM band. The
                           hopping pattern may be adapted to exclude a portion of the
                           frequencies that are used by interfering devices. The adaptive
                           hopping technique improves Bluetooth co-existence with static (non-
                           hopping) ISM systems when these are co-located.

                           The physical channel is sub-divided into time units known as slots.
                           Data is transmitted between Bluetooth devices in packets, that are
                           positioned in these slots. When circumstances permit, a number of
                           consecutive slots may be allocated to a single packet. Frequency
                           hopping takes place between the transmission or reception of packets.
                           Bluetooth technology provides the effect of full duplex transmission
                           through the use of a Time-Division Duplex (TDD) scheme.

                           (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                           Piconet Physical Channel), 3.3.1.1.2.)

  a decoder operative to   Each Accused Receiver Device decodes transmissions encoded to
     decode reduced        reduce intersymbol interference. For example:
     intersymbol           The modulation shall employ square-root raised cosine pulse shaping
     interference coding   to generate the equivalent lowpass information-bearing signal v(t).
     of said original      The output of the transmitter shall be a bandpass signal that can be
     audio signal          represented as
     representation; and

                                                      (EQ 1)




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                            (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                            Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                            Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                            Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                            http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                            Inter Symbol Interference (ISI) and raised cosine filtering, available
                            at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

  a digital-to-analog       Each Accused Receiver Device generates audio output by converting
     converter (DAC)        the received digital signal representation to analog audio.
     generating an audio
     output of said         For example:
     digital audio music
     representation         LOUDSPEAKER PATH
     signal; and a          RLR measurement model
     module adapted to
     reproduce said
     generated audio
     output, said audio
     having been
     wirelessly
     transmitted and
     reproduced             (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
     virtually free from
     interference from
     device transmitted     Each Accused Receiver Device has a speaker.
     signals operating in
     the wireless           See also:
     headphone
     spectrum.              LOUDSPEAKER PATH
                            RLR measurement model




                            (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

                            Apple promotes the high quality and clear sound of each of the
                            Accused Receiver Devices. For example:

                            https://www.apple.com/airpods-2nd-generation/




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                           https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                           available-october-30/

                           https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                           headphones-with-airpods/

                           https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                           https://www.apple.com/homepod/

                           https://www.beatsbydre.com/speakers/beats-pill-plus

                           https://www.beatsbydre.com/earphones/beats-x

                           https://www.beatsbydre.com/headphones/solo3-wireless

                           https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                           wireless-earphones-spring-yellow

                           https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                           performance-wireless-earphones-red

                           https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                           cancelling-headphones-more-matte-collection-dark-blue

                           https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                           headphones-the-beats-skyline-collection-midnight-black

                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                           headphones-beats-camo-collection-sand-dune

                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                           https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                           2nd-Generation.html

                           See also:

                           The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                           or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                           employs a frequency hopping transceiver to combat interference and
                           fading and provides many FHSS [frequency hopping spread
                           spectrum] carriers.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                           See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                           BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.

  10. A wireless digital   Each Accused Receiver Device includes a wireless headphone having
    audio headphone        one or more speakers. These include over-head-type headphones, in-
    for receipt of a       ear earbud-type headphones and behind-neck-type headphones.
    unique user code
    and a digital audio


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  U.S. Patent 8,131,391              Accused Transmitter and Receiver Devices
    representation        For example, Apple promotes its AirPods and AirPods Pro as
    signal in the form    headphones.
    of a packet, said
    wireless digital      https://www.apple.com/airpods/
    audio headphone       https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
    comprising:           headphones-with-airpods/
                          https://www.apple.com/shop/product/MWNX2/powerbeats-high-
                          performance-wireless-earphones-red


                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)


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                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                          Each Accused Receiver Device relies on packet-based
                          communication.
                          For example:
                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                          3.2.1 (“BR/EDR Generic Packet Structure”).)
                          See also:
                          2.3 PACKET FORMAT
                          Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                          identify different types of PDUs, see Table 5.1. The first 7 bits of the
                          opcode and a transaction ID are located in the first byte of the
                          payload body. If the initial 7 bits of the opcode have one of the
                          special escape values 124-127 then an additional byte of opcode is
                          located in the second byte of the payload and the combination
                          uniquely identifies the PDU.
                          (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                          Apple promotes each Accused Receiver Device as providing clear
                          and high quality sound for voice and music.

                          For example, Apple promotes its W1 and H1 chips, which operate in
                          the Accused Receiver Devices, as providing clear, detailed, high
                          quality sound for calls and music.

                          See also:
                          This profile defines the requirements for Bluetooth devices necessary
                          for support of the high quality audio distribution. The requirements
                          are expressed in terms of end-user services, and by defining the
                          features and procedures that are required for interoperability between
                          Bluetooth devices in the Audio Distribution usage model.
                          (Advanced Audio Distribution v1.3.2, Abstract)


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                           See also:

                           https://www.apple.com/airpods-2nd-generation/

                           https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                           available-october-30/

                           https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                           headphones-with-airpods/

                           https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                           https://www.apple.com/homepod/

                           https://www.beatsbydre.com/speakers/beats-pill-plus

                           https://www.beatsbydre.com/earphones/beats-x

                           https://www.beatsbydre.com/headphones/solo3-wireless

                           https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                           wireless-earphones-spring-yellow

                           https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                           performance-wireless-earphones-red

                           https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                           cancelling-headphones-more-matte-collection-dark-blue

                           https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                           headphones-the-beats-skyline-collection-midnight-black

                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                           headphones-beats-camo-collection-sand-dune

                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                           https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                           2nd-Generation.html


  a mobile digital audio   Each Accused Receiver Device is a product that wirelessly receives
    receiver configured    audio data using Bluetooth connectivity.
    for direct digital
    wireless spread        Each Accused Receiver Device is a digital audio spread spectrum
    spectrum               receiver. For example:
    communication
    with a mobile          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    digital audio          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
    transmitter;           employs a frequency hopping transceiver to combat interference and
                           fading and provides many FHSS [frequency hopping spread
                           spectrum] carriers.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)


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                            Each Accused Receiver Device is capable of mobile operation and,
                            through Bluetooth connectivity, is designed to work with a mobile
                            transmitter implementing Bluetooth connectivity.

                            See also, for example:

                            1 GENERAL DESCRIPTION
                            Bluetooth wireless technology is a short-range communications
                            system intended to replace the cable(s) connecting portable and/or
                            fixed electronic devices.
                            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

  a direct conversion       Each Accused Receiver Device has a direct conversion module. For
     module configured      example, Apple promotes the low power consumption characteristics
     to capture packets     of the accused devices.
     and the correct bit    https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
     sequence within the    headphones-with-airpods/
     packets aided by
     lowering signal        https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/
     detection error
                            https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-
     through reduced        AirPods-2nd-Generation.html
     intersymbol
     interference coding    https://www.beatsbydre.com/products
     of said audio
     representation
     signal respective to   1 GENERAL DESCRIPTION
     said headphone and     Bluetooth wireless technology is a short-range communications
     said mobile digital    system intended to replace the cable(s) connecting portable and/or
     audio transmitter,     fixed electronic devices. The key features of Bluetooth wireless
     said packets           technology are robustness, low power consumption, and low cost.
     embedded in the        Many features of the core specification are optional, allowing product
     received spread        differentiation.
     spectrum signal, the   (BT Specification 5.0, Vol. 1, Part A, Section 1.)
     captured packets
     corresponding to       Each Accused Receiver Device decodes transmissions encoded to
     the unique user        reduce intersymbol interference. For example:
     code;
                            The modulation shall employ square-root raised cosine pulse shaping
                            to generate the equivalent lowpass information-bearing signal v(t).
                            The output of the transmitter shall be a bandpass signal that can be
                            represented as

                                                       (EQ 1)



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  U.S. Patent 8,131,391               Accused Transmitter and Receiver Devices

                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                          Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                          Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                          Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                          http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

                          Each Accused Receiver Device relies on packet-based
                          communication.
                          For example:
                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1; see also Section
                          3.2.1 (“BR/EDR Generic Packet Structure”).)
                          See also:
                          2.3 PACKET FORMAT
                          Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely
                          identify different types of PDUs, see Table 5.1. The first 7 bits of the
                          opcode and a transaction ID are located in the first byte of the
                          payload body. If the initial 7 bits of the opcode have one of the
                          special escape values 124-127 then an additional byte of opcode is
                          located in the second byte of the payload and the combination
                          uniquely identifies the PDU.
                          (BT Specification 5.0, Vol. 2, Part C, Section 2.3.)

                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)




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                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet.
                          It is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  a digital demodulator   Each Accused Receiver Device uses a digital demodulator configured
     module configured    for independent code division multiple access (CDMA)
     for independent      communication.
     code division        Bluetooth is based on FH-CDMA (Frequency Hopping Code
     multiple access      Division Multiple Access). See Performance Analysis of Bluetooth
     (CDMA)               Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
     communication        Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
     operation;           see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
                          available at
                          http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                          2014.pdf. See also Wireless Communication Systems: From RF
                          Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.



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                                          ID #:427
                                          Exhibit A


  U.S. Patent 8,131,391                Accused Transmitter and Receiver Devices
                           Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                           core multiple-access technology in Bluetooth. . . .”).

                           See also:

                           The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                           or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                           employs a frequency hopping transceiver to combat interference and
                           fading and provides many FHSS [frequency hopping spread
                           spectrum] carriers.

                           (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                           Devices in a piconet use a specific frequency hopping pattern, which
                           is algorithmically determined by certain fields in the Bluetooth
                           address and clock of the master. The basic hopping pattern is a
                           pseudo-random ordering of the 79 frequencies in the ISM band. The
                           hopping pattern may be adapted to exclude a portion of the
                           frequencies that are used by interfering devices. The adaptive
                           hopping technique improves Bluetooth co-existence with static (non-
                           hopping) ISM systems when these are co-located.

                           The physical channel is sub-divided into time units known as slots.
                           Data is transmitted between Bluetooth devices in packets, that are
                           positioned in these slots. When circumstances permit, a number of
                           consecutive slots may be allocated to a single packet. Frequency
                           hopping takes place between the transmission or reception of packets.
                           Bluetooth technology provides the effect of full duplex transmission
                           through the use of a Time-Division Duplex (TDD) scheme.

                           (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                           Piconet Physical Channel), 3.3.1.1.2.)

  a decoder operative to   Each Accused Receiver Device decodes transmissions encoded to
     decode reduced        reduce intersymbol interference. For example:
     intersymbol           The modulation shall employ square-root raised cosine pulse shaping
     interference coding   to generate the equivalent lowpass information-bearing signal v(t).
     of said original      The output of the transmitter shall be a bandpass signal that can be
     audio signal          represented as
     representation; and

                                                      (EQ 1)
                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication


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                                           ID #:428
                                           Exhibit A


  U.S. Patent 8,131,391                   Accused Transmitter and Receiver Devices
                            Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                            http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                            Inter Symbol Interference (ISI) and raised cosine filtering, available
                            at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

  a digital-to-analog       Each Accused Receiver Device generates audio output by converting
     converter              the received digital signal representation to analog audio.
     generating an audio
     output of said         For example:
     digital audio
     representation         LOUDSPEAKER PATH
     signal; and a          RLR measurement model
     module adapted to
     reproduce said
     generated audio
     output, said audio
     having been
     wirelessly
     transmitted and
     reproduced             (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
     virtually free from
     interference from
     device transmitted     Each Accused Receiver Device has a speaker.
     signals operating in
     the wireless           See also:
     headphone
     spectrum.              LOUDSPEAKER PATH
                            RLR measurement model




                            (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

                            Apple promotes the high quality and clear sound of each of the
                            Accused Receiver Devices. For example:

                            https://www.apple.com/airpods-2nd-generation/

                            https://www.apple.com/newsroom/2019/10/apple-reveals-new-airpods-pro-
                            available-october-30/




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                                          ID #:429
                                          Exhibit A


  U.S. Patent 8,131,391                 Accused Transmitter and Receiver Devices
                          https://www.apple.com/newsroom/2016/09/apple-reinvents-the-wireless-
                          headphones-with-airpods/

                          https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-charging-case

                          https://www.apple.com/homepod/

                          https://www.beatsbydre.com/speakers/beats-pill-plus

                          https://www.beatsbydre.com/earphones/beats-x

                          https://www.beatsbydre.com/headphones/solo3-wireless

                          https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-totally-
                          wireless-earphones-spring-yellow

                          https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-high-
                          performance-wireless-earphones-red

                          https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-wireless-noise-
                          cancelling-headphones-more-matte-collection-dark-blue

                          https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-wireless-
                          headphones-the-beats-skyline-collection-midnight-black

                          https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-wireless-
                          headphones-beats-camo-collection-sand-dune

                          https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-guide/

                          https://www.crutchfield.com/S-oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-
                          2nd-Generation.html

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                          BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.


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                                          Exhibit B


             One-E-Way’s S.P.R. 2.1.3 Asserted Claim Chart For The ’627 Patent

        One-E-Way hereby provides its S.P.R. 2.1.3 Asserted Claim Chart for One-E-Way’s U.S.

 Patent No. 10,129,627. The claims of the ’627 patent identified herein are claims 1-6, and 10-12.

        As used herein, “Accused Receiver Device” includes any of the following individual

 devices: Apple’s AirPods, AirPods Pro and HomePod, and Apple’s Powerbeats Wireless

 Earphones, Powerbeats Pro Wireless Earphones, Powerbeats3 Wireless Earphones, Beats Solo Pro

 Wireless Noise Cancelling Headphones, Beats Solo3 Wireless Headphones, Beats Studio3 Wireless

 Headphones, BeatsX Wireless Earphones, and Beats Pill+ Portable Speaker.             Although not

 commercially available yet, One-E-Way expects, upon information and belief, that Apple’s

 AirPods Studio Headphones will satisfy the same claims, in the same manner, as the Accused

 Receiver Devices discussed below.

        As used herein, “Accused Transmitter Device” includes any of the following individual

 devices: Apple’s iPhone, iPad, iPod and Apple Watch.

        The following chart provides exemplary evidence of infringement. Additionally, for

 simplicity, One-E-Way relies on citations to Bluetooth specification 5.0. However, because of the

 backwards-compatibility of Bluetooth back to Bluetooth version 2.1, each citation to Bluetooth

 5.0 should be understood to also refer to the corresponding sections in each Bluetooth specification

 from version 2.1 onward, such as Bluetooth specification 4.0, 4.1 and 4.2. One-E-Way also notes

 that Apple has yet to provide discovery, as the case is in the beginning stages. One-E-Way reserves

 the right to identify additional information learned through discovery that further confirms these

 infringement contentions.




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                                              ID #:431
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        U.S. Patent                               Accused Receiver Device
        10,129,627
  1. A wireless digital     Each Accused Receiver Device is a product capable of mobile
     audio spread           operation that wirelessly receives an audio signal representation using
     spectrum receiver,     Bluetooth connectivity.
     capable of mobile
     operation,             Each Accused Receiver Device is a wireless digital audio spread
     configured to          spectrum receiver. For example:
     receive a unique
     user code and a        The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     high quality audio     or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     signal                 employs a frequency hopping transceiver to combat interference and
     representation with    fading and provides many FHSS [frequency hopping spread
     a frequency range      spectrum] carriers.
     of 20 Hz to 20 kHz     (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
     from a digital
     audio spread           Each Accused Receiver Device is operative to communicate
     spectrum               wirelessly.
     transmitter, said      See also:
     audio signal
     representation         1 GENERAL DESCRIPTION
     representative of      Bluetooth wireless technology is a short-range communications
     audio from a           system intended to replace the cable(s) connecting portable and/or
     portable audio         fixed electronic devices. The key features of Bluetooth wireless
     source, said digital   technology are robustness, low power consumption, and low cost.
     audio spread           Many features of the core specification are optional, allowing product
     spectrum receiver      differentiation.
     operative to           (BT Specification 5.0, Vol. 1, Part A, Section 1.)
     communicate
     wirelessly with        Each Accused Receiver Device is capable of mobile operation and,
     said digital audio     through Bluetooth connectivity, is designed to work with a portable
     spread spectrum        transmitter implementing Bluetooth connectivity.
     transmitter, said
     digital audio          Each Accused Receiver Device is configured to receive a unique user
     spread spectrum        code. For example:
     receiver               1.3 ACCESS CODES
     comprising:            In the Bluetooth system all transmissions over the physical channel
                            begin with an access code. Three different access codes are defined,
                            see also Section 6.3.1:

                                   • device access code (DAC)
                                   • channel access code (CAC)
                                   • inquiry access code (IAC)

                            All access codes are derived from the LAP of a device address or an
                            inquiry address. The device access code is used during page, page


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                                    ID #:432
                                    Exhibit B


      U.S. Patent                           Accused Receiver Device
      10,129,627
                     scan and page response substates and shall be derived from the paged
                     device’s BD_ADDR. The channel access code is used in the
                     CONNECTION state, . . ..

                     The access code also indicates to the receiver the arrival of a packet. It
                     is used for timing synchronization and offset compensation. The
                     receiver correlates against the entire synchronization word in the
                     access code, providing very robust signaling.
                     (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                     See also, for example:
                     Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                     device address (BD_ADDR). The address shall be a 48-bit extended
                     unique identifier (EUI-48) created in accordance with section 8.2
                     (“Universal addresses”) of the IEEE 802-2014 standard
                     (http://standards.ieee.org/findstds/standard/802-2014.html).

                     Creation of a valid EUI-48 requires one of the following MAC
                     Address Block types to be obtained from the IEEE Registration
                     Authority:

                     • MAC Address Block Large (MA-L)
                     • MAC Address Block Medium (MA-M)
                     • MAC Address Block Small (MA-S)

                     (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                     See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                     1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                     Apple’s W1 and H1 chips, operating in the Accused Receiver
                     Devices, are capable of representing audio signals in a frequency
                     range of 20Hz to 20kHz.
                     See, for example:
                     https://www.crutchfield.com/S-adgAxaFSrul/p_835PBT3BTB/Beats-
                     by-Dr-Dre-Powerbeats3-Wireless-Black.html
                     https://www.techradar.com/news/airpods-beats-and-the-best-apple-
                     headphones-you-can-buy-in-2020

                     See also https://www.apple.com/newsroom/2019/10/apple-reveals-
                     new-airpods-pro-available-october-30/




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                                    ID #:433
                                    Exhibit B


      U.S. Patent                          Accused Receiver Device
      10,129,627
                     Apple promotes each Accused Receiver Device as providing clear and
                     high quality sound for voice and music.

                     For example, Apple promotes its W1 and H1 chips, which operate in
                     the Accused Receiver Devices, as providing clear, detailed, high
                     quality sound for calls and music.

                     See also:
                     This profile defines the requirements for Bluetooth devices necessary
                     for support of the high quality audio distribution. The requirements
                     are expressed in terms of end-user services, and by defining the
                     features and procedures that are required for interoperability between
                     Bluetooth devices in the Audio Distribution usage model.
                     (Advanced Audio Distribution v1.3.2, Abstract)

                     See also:
                     
                     https://www.apple.com/airpods-2nd-generation/
                     https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                     airpods-pro-available-october-30/

                     https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                     wireless-headphones-with-airpods/
                     https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                     charging-case
                     https://www.apple.com/homepod/
                     https://www.beatsbydre.com/speakers/beats-pill-plus
                     https://www.beatsbydre.com/earphones/beats-x
                     https://www.beatsbydre.com/headphones/solo3-wireless
                     https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                     totally-wireless-earphones-spring-yellow
                     https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                     high-performance-wireless-earphones-red
                     https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                     wireless-noise-cancelling-headphones-more-matte-collection-dark-
                     blue




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                                             ID #:434
                                             Exhibit B


       U.S. Patent                               Accused Receiver Device
       10,129,627
                           https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                           wireless-headphones-the-beats-skyline-collection-midnight-black
                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                           wireless-headphones-beats-camo-collection-sand-dune
                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                           guide/

                           https://www.crutchfield.com/S-
                           oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                           Generation.html

                           Each Accused Receiver Device is operative to communicate
                           wirelessly.
                           See also:
                           1 GENERAL DESCRIPTION
                           Bluetooth wireless technology is a short-range communications
                           system intended to replace the cable(s) connecting portable and/or
                           fixed electronic devices. The key features of Bluetooth wireless
                           technology are robustness, low power consumption, and low cost.
                           Many features of the core specification are optional, allowing product
                           differentiation.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.)

  a direct conversion      Each Accused Receiver Device has a direct conversion module. For
     module configured     example, Apple promotes the low power consumption characteristics
     to receive wireless   of the accused devices.
     spread spectrum       https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
     signal
                           wireless-headphones-with-airpods/
     transmissions
     representative of     https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
     the unique user       guide/
     code and the high
     quality audio         https://www.crutchfield.com/S-
     signal                oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-Generation.html
     representation,
                           https://www.beatsbydre.com/products
     wherein the
     received
     transmissions are     1 GENERAL DESCRIPTION
     encoded to reduce     Bluetooth wireless technology is a short-range communications
     intersymbol           system intended to replace the cable(s) connecting portable and/or
     interference,         fixed electronic devices. The key features of Bluetooth wireless
     wherein the           technology are robustness, low power consumption, and low cost.


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       U.S. Patent                               Accused Receiver Device
        10,129,627
    wireless digital      Many features of the core specification are optional, allowing product
    audio spread          differentiation.
    spectrum receiver     (BT Specification 5.0, Vol. 1, Part A, Section 1.)
    is capable of
    processing the high   Each Accused Receiver Device is configured to receive a unique user
    quality audio         code. For example:
    signal having a
    frequency range of    1.3 ACCESS CODES
    20 Hz to 20 kHz;      In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..

                          The access code also indicates to the receiver the arrival of a packet. It
                          is used for timing synchronization and offset compensation. The
                          receiver correlates against the entire synchronization word in the
                          access code, providing very robust signaling.
                          (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)



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                                       ID #:436
                                       Exhibit B


      U.S. Patent                          Accused Receiver Device
      10,129,627

                     See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                     1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                     Apple promotes each Accused Receiver Device as providing clear and
                     high quality sound for voice and music.

                     For example, Apple promotes its W1 and H1 chips, which operate in
                     the Accused Receiver Devices, as providing clear, detailed, high
                     quality sound for calls and music.

                     See also:
                     This profile defines the requirements for Bluetooth devices necessary
                     for support of the high quality audio distribution. The requirements
                     are expressed in terms of end-user services, and by defining the
                     features and procedures that are required for interoperability between
                     Bluetooth devices in the Audio Distribution usage model.
                     (Advanced Audio Distribution v1.3.2, Abstract)

                     See also:

                     https://www.apple.com/airpods-2nd-generation/
                     https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                     airpods-pro-available-october-30/

                     https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                     wireless-headphones-with-airpods/
                     https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                     charging-case
                     https://www.apple.com/homepod/
                     https://www.beatsbydre.com/speakers/beats-pill-plus
                     https://www.beatsbydre.com/earphones/beats-x
                     https://www.beatsbydre.com/headphones/solo3-wireless
                     https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                     totally-wireless-earphones-spring-yellow
                     https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                     high-performance-wireless-earphones-red




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       U.S. Patent                               Accused Receiver Device
       10,129,627
                           https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                           wireless-noise-cancelling-headphones-more-matte-collection-dark-
                           blue
                           https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                           wireless-headphones-the-beats-skyline-collection-midnight-black
                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                           wireless-headphones-beats-camo-collection-sand-dune
                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                           guide/

                           https://www.crutchfield.com/S-
                           oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                           Generation.html

                           Apple’s W1 and H1 chips, operating in the Accused Receiver
                           Devices, are capable of representing audio signals in a frequency
                           range of 20Hz to 20kHz.
                           See also, for example:
                           https://www.crutchfield.com/S-adgAxaFSrul/p_835PBT3BTB/Beats-
                           by-Dr-Dre-Powerbeats3-Wireless-Black.html
                           https://www.techradar.com/news/airpods-beats-and-the-best-apple-
                           headphones-you-can-buy-in-2020

                           See also https://www.apple.com/newsroom/2019/10/apple-reveals-
                           new-airpods-pro-available-october-30/

  a digital-to-analog      Each Accused Receiver Device generates audio output by converting
     converter (DAC)       the received digital signal representation to analog audio.
     configured to
     generate an audio     For example:
     output from said
     receiver audio        LOUDSPEAKER PATH
     signal                RLR measurement model
     representation; and




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                                             Exhibit B


       U.S. Patent                              Accused Receiver Device
       10,129,627
                           (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

  a speaker configured     Each Accused Receiver Device has a speaker to reproduce generated
     to reproduce said     audio output.
     generated audio
     output, wherein       See also:
     said reproduction
     does not include      LOUDSPEAKER PATH
     audible audio         RLR measurement model
     content originating
     from any
     transmitted audio
     signals in the
     wireless digital
     audio spread
     spectrum
     transmitter           (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
     spectrum that do
     not originate from
     said digital audio    Apple promotes the high quality and clear sound of each of the
     spread spectrum       Accused Receiver Devices. For example:
     transmitter;          
                           https://www.apple.com/airpods-2nd-generation/
                           https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                           airpods-pro-available-october-30/

                           https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                           wireless-headphones-with-airpods/
                           https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                           charging-case
                           https://www.apple.com/homepod/
                           https://www.beatsbydre.com/speakers/beats-pill-plus
                           https://www.beatsbydre.com/earphones/beats-x
                           https://www.beatsbydre.com/headphones/solo3-wireless
                           https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                           totally-wireless-earphones-spring-yellow
                           https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                           high-performance-wireless-earphones-red



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      U.S. Patent                              Accused Receiver Device
      10,129,627
                         https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                         wireless-noise-cancelling-headphones-more-matte-collection-dark-
                         blue
                         https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                         wireless-headphones-the-beats-skyline-collection-midnight-black
                         https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                         wireless-headphones-beats-camo-collection-sand-dune
                         https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                         guide/

                         https://www.crutchfield.com/S-
                         oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                         Generation.html

                         See also:

                         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                         or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                         employs a frequency hopping transceiver to combat interference and
                         fading and provides many FHSS [frequency hopping spread
                         spectrum] carriers.
                         (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                         See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                         BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.

  wherein the wireless   Each Accused Receiver Device uses independent code division
    digital audio        multiple access (CDMA) communication.
    spread spectrum      Bluetooth is based on FH-CDMA (Frequency Hopping Code Division
    receiver is          Multiple Access). See Performance Analysis of Bluetooth Network in
    configured to use    the Presence of WI-FI System, by Shehu Hassan Ayagi, Computer
    independent code     Engineering and Intelligent Systems, Vol. 5, No. 9, 2014; see also
    division multiple    Bluetooth Communication with Arduino by Dr. Xiaohai Li, available
    access               at
    communication        http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
    and to use the       2014.pdf. See also Wireless Communication Systems: From RF
    received unique      Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
    user code to         Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
    communicate with     core multiple-access technology in Bluetooth. . . .”).
    only said wireless
    digital audio        See also:
    spread spectrum


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       U.S. Patent                              Accused Receiver Device
       10,129,627
    transmitter for the   The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    duration of a         or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
    wireless              employs a frequency hopping transceiver to combat interference and
    connection; and       fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.

                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          Devices in a piconet use a specific frequency hopping pattern, which
                          is algorithmically determined by certain fields in the Bluetooth
                          address and clock of the master. The basic hopping pattern is a
                          pseudo-random ordering of the 79 frequencies in the ISM band. The
                          hopping pattern may be adapted to exclude a portion of the
                          frequencies that are used by interfering devices. The adaptive hopping
                          technique improves Bluetooth co-existence with static (non-hopping)
                          ISM systems when these are co-located.

                          The physical channel is sub-divided into time units known as slots.
                          Data is transmitted between Bluetooth devices in packets, that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet. Frequency
                          hopping takes place between the transmission or reception of packets.
                          Bluetooth technology provides the effect of full duplex transmission
                          through the use of a Time-Division Duplex (TDD) scheme.

                          (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                          Piconet Physical Channel), 3.3.1.1.2.)

                          Each Accused Receiver Device is configured to receive a unique user
                          code. For example:
                          1.3 ACCESS CODES
                          In the Bluetooth system all transmissions over the physical channel
                          begin with an access code. Three different access codes are defined,
                          see also Section 6.3.1:

                                 • device access code (DAC)
                                 • channel access code (CAC)
                                 • inquiry access code (IAC)

                          All access codes are derived from the LAP of a device address or an
                          inquiry address. The device access code is used during page, page
                          scan and page response substates and shall be derived from the paged
                          device’s BD_ADDR. The channel access code is used in the
                          CONNECTION state, . . ..


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                         The access code also indicates to the receiver the arrival of a packet. It
                         is used for timing synchronization and offset compensation. The
                         receiver correlates against the entire synchronization word in the
                         access code, providing very robust signaling.
                         (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                         See also, for example:
                         Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                         device address (BD_ADDR). The address shall be a 48-bit extended
                         unique identifier (EUI-48) created in accordance with section 8.2
                         (“Universal addresses”) of the IEEE 802-2014 standard
                         (http://standards.ieee.org/findstds/standard/802-2014.html).

                         Creation of a valid EUI-48 requires one of the following MAC
                         Address Block types to be obtained from the IEEE Registration
                         Authority:

                         • MAC Address Block Large (MA-L)
                         • MAC Address Block Medium (MA-M)
                         • MAC Address Block Small (MA-S)

                         (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                         See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                         1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  wherein the wireless
    digital audio
    spread spectrum
    receiver is further
    configured to:
  demodulate a          Each Accused Receiver Device performs at least one of a plurality of
    received modulated demodulations on a representation of an audio signal, wherein the
    transmission, and   plurality of modulations includes a differential phase shift keying
                        (DPSK) demodulation and a non-DPSK demodulation.

                         For example:

                         3.2.1 Modulation Characteristics
                         During access code and packet header transmission the Basic Rate
                         GFSK modulation mode shall be used. During the transmission of the
                         synchronization sequence, payload, and trailer sequence a PSK type
                         of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be


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       10,129,627
                            used. The following subsections specify the PSK modulation for this
                            transmission.

                            3.2.1.1 Modulation Method Overview
                            The PSK modulation format defined for the 2 Mb/s transmission shall
                            be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
                            DQPSK).

                            The PSK modulation format defined for the 3 Mb/s transmission shall
                            be differential encoded 8-ary phase shift keying (8DPSK).

                            (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                            See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2, 4.2;
                            BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

  generate a                The Accused Receiver Device generates a demodulated signal based
     demodulated signal     on the received modulated transmission by performing at least one of
     based on the           a plurality of demodulations. (e.g., see above.)
     received modulated
     transmission by
     performing at least
     one of a plurality
     of demodulations,
     wherein the
     plurality of
     demodulations
     includes a
     differential phase
     shift keying
     (DPSK)
     demodulation and
     also includes a
     non-DPSK
     demodulation.
  2. The wireless digital   Apple promotes each Accused Receiver Device as providing clear and
     audio spread           high quality sound for voice and music.
     spectrum receiver
     of claim 1, wherein    For example, Apple promotes its W1 and H1 chips, which operate in
     said audio from        the Accused Receiver Devices, as providing clear, detailed, high
     said portable audio    quality sound for calls and music.
     source is music.
                            See also:




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      U.S. Patent                          Accused Receiver Device
      10,129,627
                     This profile defines the requirements for Bluetooth devices necessary
                     for support of the high quality audio distribution. The requirements
                     are expressed in terms of end-user services, and by defining the
                     features and procedures that are required for interoperability between
                     Bluetooth devices in the Audio Distribution usage model.
                     (Advanced Audio Distribution v1.3.2, Abstract)

                     See also:

                     https://www.apple.com/airpods-2nd-generation/
                     https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                     airpods-pro-available-october-30/

                     https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                     wireless-headphones-with-airpods/
                     https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                     charging-case
                     https://www.apple.com/homepod/
                     https://www.beatsbydre.com/speakers/beats-pill-plus
                     https://www.beatsbydre.com/earphones/beats-x
                     https://www.beatsbydre.com/headphones/solo3-wireless
                     https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                     totally-wireless-earphones-spring-yellow
                     https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                     high-performance-wireless-earphones-red
                     https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                     wireless-noise-cancelling-headphones-more-matte-collection-dark-
                     blue
                     https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                     wireless-headphones-the-beats-skyline-collection-midnight-black
                     https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                     wireless-headphones-beats-camo-collection-sand-dune
                     https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                     guide/




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                                                                                         076
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                                             ID #:444
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       U.S. Patent                               Accused Receiver Device
       10,129,627
                           https://www.crutchfield.com/S-
                           oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                           Generation.html

  3. A portable spread     Each Accused Receiver Device is a product capable of portable
     spectrum audio        operation that wirelessly receives a transmitted audio signal
     receiver,             representation using Bluetooth connectivity.
     configured to
     receive and store a   Each Accused Receiver Device is a spread spectrum audio receiver.
     unique user code,     For example:
     said portable
     spread spectrum       The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     receiver configured   or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     to receive wireless   employs a frequency hopping transceiver to combat interference and
     transmission from     fading and provides many FHSS [frequency hopping spread
     a spread spectrum     spectrum] carriers.
     transmitter, said     (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
     wireless
     transmissions         Each Accused Receiver Device is operative to communicate
     representative of a   wirelessly.
     high quality audio    See also:
     signal
     representation with   1 GENERAL DESCRIPTION
     a frequency range     Bluetooth wireless technology is a short-range communications
     of 20 Hz to 20        system intended to replace the cable(s) connecting portable and/or
     kHz, said portable    fixed electronic devices. The key features of Bluetooth wireless
     spread spectrum       technology are robustness, low power consumption, and low cost.
     audio receiver        Many features of the core specification are optional, allowing product
     comprising:           differentiation.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                           Each Accused Receiver Device is capable of portable operation and,
                           through Bluetooth connectivity, is designed to work with a portable
                           transmitter implementing Bluetooth connectivity.

                           Apple promotes each Accused Receiver Device as providing clear and
                           high quality sound for voice and music.

                           For example, Apple promotes its W1 and H1 chips, which operate in
                           the Accused Receiver Devices, as providing clear, detailed, high
                           quality sound for calls and music.

                           See also:




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      10,129,627
                     This profile defines the requirements for Bluetooth devices necessary
                     for support of the high quality audio distribution. The requirements
                     are expressed in terms of end-user services, and by defining the
                     features and procedures that are required for interoperability between
                     Bluetooth devices in the Audio Distribution usage model.
                     (Advanced Audio Distribution v1.3.2, Abstract)

                     See also:

                     https://www.apple.com/airpods-2nd-generation/
                     https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                     airpods-pro-available-october-30/

                     https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                     wireless-headphones-with-airpods/
                     https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                     charging-case
                     https://www.apple.com/homepod/
                     https://www.beatsbydre.com/speakers/beats-pill-plus
                     https://www.beatsbydre.com/earphones/beats-x
                     https://www.beatsbydre.com/headphones/solo3-wireless
                     https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                     totally-wireless-earphones-spring-yellow
                     https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                     high-performance-wireless-earphones-red
                     https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                     wireless-noise-cancelling-headphones-more-matte-collection-dark-
                     blue
                     https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                     wireless-headphones-the-beats-skyline-collection-midnight-black
                     https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                     wireless-headphones-beats-camo-collection-sand-dune
                     https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                     guide/




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       10,129,627
                           https://www.crutchfield.com/S-
                           oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                           Generation.html

                           Apple’s W1 and H1 chips, operating in the Accused Receiver
                           Devices, are capable of representing audio signals in a frequency
                           range of 20Hz to 20kHz.
                           See also, for example:
                           https://www.crutchfield.com/S-adgAxaFSrul/p_835PBT3BTB/Beats-
                           by-Dr-Dre-Powerbeats3-Wireless-Black.html
                           https://www.techradar.com/news/airpods-beats-and-the-best-apple-
                           headphones-you-can-buy-in-2020

                           See also https://www.apple.com/newsroom/2019/10/apple-reveals-
                           new-airpods-pro-available-october-30/

  a direct conversion      Each Accused Receiver Device has a direct conversion module. For
     module configured     example, Apple promotes the low power consumption characteristics
     to receive wireless   of the accused devices.
     transmissions         https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
     representative of
                           wireless-headphones-with-airpods/
     the high quality
     audio signal          https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
     representation,       guide/
     wherein the
     received wireless     https://www.crutchfield.com/S-
     transmissions are     oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-Generation.html
     encoded to reduce
                           https://www.beatsbydre.com/products
     intersymbol
     interference;
                           1 GENERAL DESCRIPTION
                           Bluetooth wireless technology is a short-range communications
                           system intended to replace the cable(s) connecting portable and/or
                           fixed electronic devices. The key features of Bluetooth wireless
                           technology are robustness, low power consumption, and low cost.
                           Many features of the core specification are optional, allowing product
                           differentiation.
                           (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                           Apple promotes each Accused Receiver Device as providing clear and
                           high quality sound for voice and music.



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      U.S. Patent                          Accused Receiver Device
      10,129,627
                     For example, Apple promotes its W1 and H1 chips, which operate in
                     the Accused Receiver Devices, as providing clear, detailed, high
                     quality sound for calls and music.

                     See also:
                     This profile defines the requirements for Bluetooth devices necessary
                     for support of the high quality audio distribution. The requirements
                     are expressed in terms of end-user services, and by defining the
                     features and procedures that are required for interoperability between
                     Bluetooth devices in the Audio Distribution usage model.
                     (Advanced Audio Distribution v1.3.2, Abstract)

                     See also:

                     https://www.apple.com/airpods-2nd-generation/
                     https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                     airpods-pro-available-october-30/

                     https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                     wireless-headphones-with-airpods/
                     https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                     charging-case
                     https://www.apple.com/homepod/
                     https://www.beatsbydre.com/speakers/beats-pill-plus
                     https://www.beatsbydre.com/earphones/beats-x
                     https://www.beatsbydre.com/headphones/solo3-wireless
                     https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                     totally-wireless-earphones-spring-yellow
                     https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                     high-performance-wireless-earphones-red
                     https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                     wireless-noise-cancelling-headphones-more-matte-collection-dark-
                     blue
                     https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                     wireless-headphones-the-beats-skyline-collection-midnight-black




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       10,129,627
                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                           wireless-headphones-beats-camo-collection-sand-dune
                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                           guide/

                           https://www.crutchfield.com/S-
                           oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                           Generation.html

                           Each Accused Receiver Device receives transmissions encoded to
                           reduce intersymbol interference. For example:
                           The modulation shall employ square-root raised cosine pulse shaping
                           to generate the equivalent lowpass information-bearing signal v(t).
                           The output of the transmitter shall be a bandpass signal that can be
                           represented as

                                                      (EQ 1)


                           (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                           Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                           Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                           Inter Symbol Interference (ISI) and raised cosine filtering, available at
                           http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

  a decoder operative to   Each Accused Receiver Device decodes a demodulated transmission
     decode the            to reduce intersymbol interference coding. For example:
     demodulated           The modulation shall employ square-root raised cosine pulse shaping
     transmission and to
                           to generate the equivalent lowpass information-bearing signal v(t).
     generate a receiver   The output of the transmitter shall be a bandpass signal that can be
     audio signal          represented as
     representation, the
     decoder configured
     to decode reduced                                (EQ 1)
     intersymbol
     interference coding
     and to decode         (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
     representations of    Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
     audio in the          Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                           http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;


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    frequency range of     Inter Symbol Interference (ISI) and raised cosine filtering, available at
    20 Hz to 20 kHz;       http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)
                           The decoding includes decoding representations of audio in the
                           frequency range of 20Hz to 20kHz.
                           Apple’s W1 and H1 chips, operating in the Accused Receiver
                           Devices, are capable of representing audio signals in a frequency
                           range of 20Hz to 20kHz.
                           See also, for example:
                           https://www.crutchfield.com/S-adgAxaFSrul/p_835PBT3BTB/Beats-
                           by-Dr-Dre-Powerbeats3-Wireless-Black.html
                           https://www.techradar.com/news/airpods-beats-and-the-best-apple-
                           headphones-you-can-buy-in-2020

                           See also https://www.apple.com/newsroom/2019/10/apple-reveals-
                           new-airpods-pro-available-october-30/

  a digital-to-analog      Each Accused Receiver Device has a digital-to-audio converter and
     converter (DAC)       generates audio output from an audio signal representation.
     configured to
     generate an audio     For example:
     output from said
     receiver audio        LOUDSPEAKER PATH
     signal                RLR measurement model
     representation; and




                           (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

  a speaker configured     Each Accused Receiver Device has a speaker to reproduce generated
     to reproduce said     audio output.
     generated audio
     output, wherein       See also:
     said reproduction
     does not include      LOUDSPEAKER PATH
     audible audio         RLR measurement model
     content originating



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       10,129,627
    from any
    transmitted audio
    signals in the
    spread spectrum
    transmitter
    spectrum that do
    not originate from   (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
    said spread
    spectrum             Apple promotes the high quality and clear sound of each of the
    transmitter;         Accused Receiver Devices. For example:

                         
                         https://www.apple.com/airpods-2nd-generation/
                         https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                         airpods-pro-available-october-30/

                         https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                         wireless-headphones-with-airpods/
                         https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                         charging-case
                         https://www.apple.com/homepod/
                         https://www.beatsbydre.com/speakers/beats-pill-plus
                         https://www.beatsbydre.com/earphones/beats-x
                         https://www.beatsbydre.com/headphones/solo3-wireless
                         https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                         totally-wireless-earphones-spring-yellow
                         https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                         high-performance-wireless-earphones-red
                         https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                         wireless-noise-cancelling-headphones-more-matte-collection-dark-
                         blue
                         https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                         wireless-headphones-the-beats-skyline-collection-midnight-black
                         https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                         wireless-headphones-beats-camo-collection-sand-dune




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       U.S. Patent                              Accused Receiver Device
       10,129,627
                          https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                          guide/

                          https://www.crutchfield.com/S-
                          oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                          Generation.html

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                          BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.

  wherein the portable    Each Accused Receiver Device uses independent code division
    spread spectrum       multiple access (CDMA) communication.
    audio receiver is     Bluetooth is based on FH-CDMA (Frequency Hopping Code Division
    configured to use     Multiple Access). See Performance Analysis of Bluetooth Network in
    independent code      the Presence of WI-FI System, by Shehu Hassan Ayagi, Computer
    division multiple     Engineering and Intelligent Systems, Vol. 5, No. 9, 2014; see also
    access                Bluetooth Communication with Arduino by Dr. Xiaohai Li, available
    communication         at
    and to use the        http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
    received unique       2014.pdf. See also Wireless Communication Systems: From RF
    user code to          Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
    communicate with      Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
    only said spread      core multiple-access technology in Bluetooth. . . .”).
    spectrum
    transmitter for the   See also:
    duration of a
    wireless              The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    connection;           or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.

                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)




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      U.S. Patent                           Accused Receiver Device
      10,129,627
                     Devices in a piconet use a specific frequency hopping pattern, which
                     is algorithmically determined by certain fields in the Bluetooth
                     address and clock of the master. The basic hopping pattern is a
                     pseudo-random ordering of the 79 frequencies in the ISM band. The
                     hopping pattern may be adapted to exclude a portion of the
                     frequencies that are used by interfering devices. The adaptive hopping
                     technique improves Bluetooth co-existence with static (non-hopping)
                     ISM systems when these are co-located.

                     The physical channel is sub-divided into time units known as slots.
                     Data is transmitted between Bluetooth devices in packets, that are
                     positioned in these slots. When circumstances permit, a number of
                     consecutive slots may be allocated to a single packet. Frequency
                     hopping takes place between the transmission or reception of packets.
                     Bluetooth technology provides the effect of full duplex transmission
                     through the use of a Time-Division Duplex (TDD) scheme.

                     (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                     Piconet Physical Channel), 3.3.1.1.2.)

                     Each Accused Receiver Device is configured to receive a unique user
                     code. For example:
                     1.3 ACCESS CODES
                     In the Bluetooth system all transmissions over the physical channel
                     begin with an access code. Three different access codes are defined,
                     see also Section 6.3.1:

                             • device access code (DAC)
                             • channel access code (CAC)
                             • inquiry access code (IAC)

                     All access codes are derived from the LAP of a device address or an
                     inquiry address. The device access code is used during page, page
                     scan and page response substates and shall be derived from the paged
                     device’s BD_ADDR. The channel access code is used in the
                     CONNECTION state, . . ..

                     The access code also indicates to the receiver the arrival of a packet. It
                     is used for timing synchronization and offset compensation. The
                     receiver correlates against the entire synchronization word in the
                     access code, providing very robust signaling.
                     (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                     See also, for example:


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      U.S. Patent                               Accused Receiver Device
      10,129,627
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)

                          (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                          See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                          1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  wherein the wireless    Each Accused Receiver Device performs at least one of a plurality of
    digital audio         demodulations on a received modulation transmission, wherein the
    spread spectrum       plurality of modulations includes a differential phase shift keying
    receiver is further   (DPSK) demodulation and a non-DPSK demodulation.
    configured to
    perform at least      For example:
    one of a plurality
    of demodulations      3.2.1 Modulation Characteristics
    on a received         During access code and packet header transmission the Basic Rate
    modulation            GFSK modulation mode shall be used. During the transmission of the
    transmission and      synchronization sequence, payload, and trailer sequence a PSK type
    generate a            of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
    demodulation          used. The following subsections specify the PSK modulation for this
    signal based on the   transmission.
    performance of the
    plurality of          3.2.1.1 Modulation Method Overview
    demodulations,        The PSK modulation format defined for the 2 Mb/s transmission shall
    wherein the           be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
    plurality of          DQPSK).
    demodulations
    includes a            The PSK modulation format defined for the 3 Mb/s transmission shall
    differential phase    be differential encoded 8-ary phase shift keying (8DPSK).
    shift keying
    (DPSK)                (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)
    demodulation and



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       U.S. Patent                                Accused Receiver Device
       10,129,627
    a non-DPSK              See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2, 4.2;
    demodulation; and       BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

  wherein said              The square-root raised cosine pulse shaping is separate from, for
     decoding is            example, the DPSK and non-DPSK modulations.
     separate from said
     plurality of
     demodulations.
  4. The portable           Apple promotes each Accused Receiver Device as providing clear and
     spread spectrum        high quality sound for voice and music.
     receiver of claim 3,
     wherein the audio      For example, Apple promotes its W1 and H1 chips, which operate in
     signal                 the Accused Receiver Devices, as providing clear, detailed, high
     representation         quality sound for calls and music.
     represents music.
                            See also:
                            This profile defines the requirements for Bluetooth devices necessary
                            for support of the high quality audio distribution. The requirements
                            are expressed in terms of end-user services, and by defining the
                            features and procedures that are required for interoperability between
                            Bluetooth devices in the Audio Distribution usage model.
                            (Advanced Audio Distribution v1.3.2, Abstract)

                            See also:

                            https://www.apple.com/airpods-2nd-generation/
                            https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                            airpods-pro-available-october-30/

                            https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                            wireless-headphones-with-airpods/
                            https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                            charging-case
                            https://www.apple.com/homepod/
                            https://www.beatsbydre.com/speakers/beats-pill-plus
                            https://www.beatsbydre.com/earphones/beats-x
                            https://www.beatsbydre.com/headphones/solo3-wireless
                            https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                            totally-wireless-earphones-spring-yellow


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       10,129,627
                           https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                           high-performance-wireless-earphones-red
                           https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                           wireless-noise-cancelling-headphones-more-matte-collection-dark-
                           blue
                           https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                           wireless-headphones-the-beats-skyline-collection-midnight-black
                           https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                           wireless-headphones-beats-camo-collection-sand-dune
                           https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                           guide/

                           https://www.crutchfield.com/S-
                           oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                           Generation.html

  10. The wireless         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    digital audio          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
    spread spectrum        employs a frequency hopping transceiver to combat interference and
    receiver of claim 1,   fading and provides many FHSS [frequency hopping spread
    wherein the digital    spectrum] carriers.
    audio spread
    spectrum receiver      (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
    is further
    configured to
    receive the receive
    wireless spread
    spectrum signal
    transmissions
    where the receive
    wireless spread
    spectrum signal
    transmissions are
    in the Industrial
    Scientific and
    Medical 2.4 GHz
    band, ranging from
    2.4 GHz to 2.5
    GHz.
  11. The portable         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    spread spectrum        or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
    receiver of claim 3,   employs a frequency hopping transceiver to combat interference and


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       U.S. Patent                              Accused Receiver Device
        10,129,627
    wherein the           fading and provides many FHSS [frequency hopping spread
    portable spread       spectrum] carriers.
    spectrum receiver
    is further            (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
    configured to
    receive the
    received wireless
    transmissions
    where the received
    wireless
    transmissions are
    in the Industrial
    Scientific and
    Medical 2.4 GHz
    band, ranging from
    2.4 GHz to 2.5
    GHz.




        U.S. Patent                           Accused Transmitter Device
        10,129,627
  5. A wireless digital   Each Accused Transmitter Device is a spread spectrum transmitter
     coded audio spread   that transmits audio data using Bluetooth connectivity.
     spectrum
     transmitter          Each Accused Transmitter Device is a digital audio spread spectrum
     operatively          transmitter. For example:
     coupled to a
     portable audio       The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     player and           or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     configured to        employs a frequency hopping transceiver to combat interference and
     transmit a unique    fading and provides many FHSS [frequency hopping spread spectrum]
     user code and a      carriers.
     representation of
     an audio signal      (BT Specification 5.0, Vol. 1, Part A, Section 1.1)
     with a frequency
     range of 20 Hz to    Each Accused Transmitter Device is operative to communicate
     20 Khz, wherein      wirelessly.
     said digital coded   See also:
     audio spread
     spectrum             1 GENERAL DESCRIPTION



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       U.S. Patent                            Accused Transmitter Device
       10,129,627
    transmitter is       Bluetooth wireless technology is a short-range communications
    configured to        system intended to replace the cable(s) connecting portable and/or
    wirelessly           fixed electronic devices. The key features of Bluetooth wireless
    communicate with     technology are robustness, low power consumption, and low cost.
    a digital audio      Many features of the core specification are optional, allowing product
    spread spectrum      differentiation.
    receiver and is      (BT Specification 5.0, Vol. 1, Part A, Section 1.)
    configured to be
    moved in any         Each Accused Transmitter Device is capable of portable operation
    direction during     and, through Bluetooth connectivity, is designed to work with a
    operation, said      portable receiver implementing Bluetooth connectivity.
    wireless digital
    coded audio spread   Each Accused Transmitter Device is capable of transmitting a
    spectrum             frequency range of 20Hz to 20kHz.
    transmitter
    comprising:          See also, for example:

                         https://www.apple.com/au/channel/ipodtouch/specs/audio.html?
                         https://support.apple.com/kb/SP88?viewlocale=en_US&locale=en_US

  an encoder operative   Each Accused Transmitter Device encodes a representation of an
    to encode a first    audio signal to reduce intersymbol interference.
    representation of    For example:
    an audio signal to
    reduce intersymbol   The modulation shall employ square-root raised cosine pulse shaping
    interference         to generate the equivalent lowpass information-bearing signal v(t).
    associated with a    The output of the transmitter shall be a bandpass signal that can be
    transmitted          represented as
    representation of
    the audio signal,                                  (EQ 1)
    said encoder
    configured to
    process signals in   (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
    the frequency        Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
    range of 20 Hz to    Raised Cosine (RRC) Filters and Pulse Shaping in Communication
    20 kHz for           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
    representation in    http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
    said first           Inter Symbol Interference (ISI) and raised cosine filtering, available at
    representation of    http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)
    an audio signal;

                         Each Accused Transmitter Device is capable of transmitting a
                         frequency range of 20Hz to 20kHz.



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       U.S. Patent                              Accused Transmitter Device
       10,129,627

                           See also, for example:

                           https://www.apple.com/au/channel/ipodtouch/specs/audio.html?
                           https://support.apple.com/kb/SP88?viewlocale=en_US&locale=en_US


  wherein the wireless     Each Accused Transmitter Device performs at least one of a plurality
    digital coded audio    of modulations on a representation of an audio signal, wherein the
    spread spectrum        plurality of modulations includes a differential phase shift keying
    transmitter is         (DPSK) modulation and a non-DPSK modulation.
    further configured
    to perform at least    For example:
    one of a plurality
    of modulations on      3.2.1 Modulation Characteristics
    the first              During access code and packet header transmission the Basic Rate
    representation of      GFSK modulation mode shall be used. During the transmission of the
    the audio signal       synchronization sequence, payload, and trailer sequence a PSK type of
    and generate a         modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
    modulated signal       used. The following subsections specify the PSK modulation for this
    based on the           transmission.
    performance of the
    plurality of           3.2.1.1 Modulation Method Overview
    modulations,           The PSK modulation format defined for the 2 Mb/s transmission shall
    wherein the            be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
    plurality of           DQPSK).
    modulations
    includes a             The PSK modulation format defined for the 3 Mb/s transmission shall
    differential phase     be differential encoded 8-ary phase shift keying (8DPSK).
    shift keying
    (DPSK)                 (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)
    modulation and a
    non-DPSK               See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2, 4.2;
    modulation;            BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

  wherein said plurality   The square-root raised cosine pulse shaping is separate from, for
    of modulations are     example, the DPSK and non-DPSK modulations.
    separate from the
    encoding and
    processing by the
    encoder; and
  wherein the wireless     Each Accused Transmitter Device uses independent code division
    digital coded audio    multiple access (CDMA) communication.
    spread spectrum


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       U.S. Patent                            Accused Transmitter Device
       10,129,627
    transmitter is        Bluetooth is based on FH-CDMA (Frequency Hopping Code Division
    further configured    Multiple Access). See Performance Analysis of Bluetooth Network in
    to use the            the Presence of WI-FI System, by Shehu Hassan Ayagi, Computer
    modulated signal      Engineering and Intelligent Systems, Vol. 5, No. 9, 2014; see also
    and to use            Bluetooth Communication with Arduino by Dr. Xiaohai Li, available
    independent code      at
    division multiple     http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
    access                2014.pdf. See also Wireless Communication Systems: From RF
    communication to      Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
    wirelessly transmit   Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
    a transmitted         core multiple-access technology in Bluetooth. . . .”).
    representation of
    the audio signal,     See also:
    and wherein the
    transmitted unique    The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    user code             or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
    distinguishes the     employs a frequency hopping transceiver to combat interference and
    transmitted           fading and provides many FHSS [frequency hopping spread spectrum]
    representation of     carriers.
    the audio signal
    from other            (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
    transmitted audio
    signals in the        Devices in a piconet use a specific frequency hopping pattern, which
    spread spectrum       is algorithmically determined by certain fields in the Bluetooth
    transmitter           address and clock of the master. The basic hopping pattern is a
    spectrum, said        pseudo-random ordering of the 79 frequencies in the ISM band. The
    other transmitted     hopping pattern may be adapted to exclude a portion of the
    audio signals not     frequencies that are used by interfering devices. The adaptive hopping
    originating from      technique improves Bluetooth co-existence with static (non-hopping)
    said wireless         ISM systems when these are co-located.
    digital coded audio
    spread spectrum       The physical channel is sub-divided into time units known as slots.
    transmitter.          Data is transmitted between Bluetooth devices in packets, that are
                          positioned in these slots. When circumstances permit, a number of
                          consecutive slots may be allocated to a single packet. Frequency
                          hopping takes place between the transmission or reception of packets.
                          Bluetooth technology provides the effect of full duplex transmission
                          through the use of a Time-Division Duplex (TDD) scheme.

                          (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                          Piconet Physical Channel), 3.3.1.1.2.)

                          Each Accused Transmitter Device is configured to use a unique user
                          code. For example:



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       U.S. Patent                              Accused Transmitter Device
       10,129,627
                           1.3 ACCESS CODES
                           In the Bluetooth system all transmissions over the physical channel
                           begin with an access code. Three different access codes are defined,
                           see also Section 6.3.1:

                                  • device access code (DAC)
                                  • channel access code (CAC)
                                  • inquiry access code (IAC)

                           All access codes are derived from the LAP of a device address or an
                           inquiry address. The device access code is used during page, page
                           scan and page response substates and shall be derived from the paged
                           device’s BD_ADDR. The channel access code is used in the
                           CONNECTION state, . . ..

                           The access code also indicates to the receiver the arrival of a packet. It
                           is used for timing synchronization and offset compensation. The
                           receiver correlates against the entire synchronization word in the
                           access code, providing very robust signaling.
                           (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                           See also, for example:
                           Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                           device address (BD_ADDR). The address shall be a 48-bit extended
                           unique identifier (EUI-48) created in accordance with section 8.2
                           (“Universal addresses”) of the IEEE 802-2014 standard
                           (http://standards.ieee.org/findstds/standard/802-2014.html).

                           Creation of a valid EUI-48 requires one of the following MAC
                           Address Block types to be obtained from the IEEE Registration
                           Authority:

                           • MAC Address Block Large (MA-L)
                           • MAC Address Block Medium (MA-M)
                           • MAC Address Block Small (MA-S)

                           (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                           See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                           1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

  6. The wireless          Apple promotes each Accused Transmitter Device as providing audio,
     digital coded audio   including music.
     spread spectrum



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        U.S. Patent                           Accused Transmitter Device
        10,129,627
     transmitter of       See also:
     claim 5, wherein     This profile defines the requirements for Bluetooth devices necessary
     the first            for support of the high quality audio distribution. The requirements
     representation of    are expressed in terms of end-user services, and by defining the
     an audio signal is   features and procedures that are required for interoperability between
     representative of    Bluetooth devices in the Audio Distribution usage model.
     music.               (Advanced Audio Distribution v1.3.2, Abstract)



  12. The wireless        The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
    digital coded audio   or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
    spread spectrum       employs a frequency hopping transceiver to combat interference and
    transmitter of        fading and provides many FHSS [frequency hopping spread spectrum]
    claim 5, wherein      carriers.
    wireless digital      (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
    coded audio spread
    spectrum
    transmitter is
    further configured
    to transmit the
    transmitted
    representation of
    the audio signal
    where the
    transmitted
    representation of
    the audio signal
    are in the
    Industrial
    Scientific and
    Medical 2.4 GHz
    band, ranging from
    2.4 GHz to 2.5
    GHz.

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              One-E-Way’s S.P.R. 2.1.3 Asserted Claim Chart For The ’047 Patent

          One-E-Way hereby provides its S.P.R. 2.1.3 Asserted Claim Chart for One-E-Way’s U.S.

 Patent No. 10,468,047. The claims of the ’047 patent identified herein are claims 1-6, 8-15 and

 17-20.

          As used herein, “Accused Receiver Device” includes any of the following individual

 devices: Apple’s AirPods, AirPods Pro and HomePod, and Apple’s Powerbeats Wireless

 Earphones, Powerbeats Pro Wireless Earphones, Powerbeats3 Wireless Earphones, Beats Solo Pro

 Wireless Noise Cancelling Headphones, Beats Solo3 Wireless Headphones, Beats Studio3 Wireless

 Headphones, BeatsX Wireless Earphones, and Beats Pill+ Portable Speaker.1 Although not

 commercially available yet, One-E-Way expects, upon information and belief, that Apple’s

 AirPods Studio Headphones will satisfy the same claims, in the same manner, as the Accused

 Receiver Devices discussed below.

          As used herein, “Accused Transmitter Device” includes any of the following individual

 devices: Apple’s iPhone, iPad, iPod and Apple Watch.

          The following chart provides exemplary evidence of infringement. Additionally, for

 simplicity, One-E-Way relies on citations to Bluetooth specification 5.0. However, because of the

 backwards-compatibility of Bluetooth back to Bluetooth version 2.1, each citation to Bluetooth

 5.0 should be understood to also refer to the corresponding sections in each Bluetooth specification

 from version 2.1 onward, such as Bluetooth specification 4.0, 4.1 and 4.2. One-E-Way also notes

 that Apple has yet to provide discovery, as the case is in the beginning stages. One-E-Way reserves

 the right to identify additional information learned through discovery that further confirms these

 infringement contentions.


          1
            For Claims 6 and 15, the term “Accused Receiver Device” does not include the Apple HomePod or Beats
 Pill+ Portable Speaker.


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        U.S. Patent                              Accused Receiver Device
         10,468,047
  1. A portable spread      Each Accused Receiver Device is a product that wirelessly receives
     spectrum audio         audio data using Bluetooth connectivity.
     receiver configured
     to receive and store   Each Accused Receiver Device is a digital audio spread spectrum
     a unique user code,    receiver. For example:
     said portable spread
     spectrum receiver      The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
     configured to          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
     receive wireless       employs a frequency hopping transceiver to combat interference and
     modulation             fading and provides many FHSS [frequency hopping spread
     transmissions from     spectrum] carriers.
     a spread spectrum      (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
     transmitter coupled
     to a music audio       Each Accused Receiver Device is operative to communicate
     source, said           wirelessly.
     wireless               See also:
     modulation
     transmissions          1 GENERAL DESCRIPTION
     representative of an   Bluetooth wireless technology is a short-range communications
     audio signal           system intended to replace the cable(s) connecting portable and/or
     representation, said   fixed electronic devices. The key features of Bluetooth wireless
     portable spread        technology are robustness, low power consumption, and low cost.
     spectrum audio         Many features of the core specification are optional, allowing product
     receiver               differentiation.
     comprising:            (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                            Each Accused Receiver Device is configured to receive and store a
                            unique user code. For example:
                            1.3 ACCESS CODES
                            In the Bluetooth system all transmissions over the physical channel
                            begin with an access code. Three different access codes are defined,
                            see also Section 6.3.1:

                                   • device access code (DAC)
                                   • channel access code (CAC)
                                   • inquiry access code (IAC)

                            All access codes are derived from the LAP of a device address or an
                            inquiry address. The device access code is used during page, page
                            scan and page response substates and shall be derived from the paged
                            device’s BD_ADDR. The channel access code is used in the
                            CONNECTION state, . . ..




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      U.S. Patent                          Accused Receiver Device
      10,468,047
                     The access code also indicates to the receiver the arrival of a packet.
                     It is used for timing synchronization and offset compensation. The
                     receiver correlates against the entire synchronization word in the
                     access code, providing very robust signaling.
                     (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                     See also, for example:
                     Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                     device address (BD_ADDR). The address shall be a 48-bit extended
                     unique identifier (EUI-48) created in accordance with section 8.2
                     (“Universal addresses”) of the IEEE 802-2014 standard
                     (http://standards.ieee.org/findstds/standard/802-2014.html).

                     Creation of a valid EUI-48 requires one of the following MAC
                     Address Block types to be obtained from the IEEE Registration
                     Authority:

                     • MAC Address Block Large (MA-L)
                     • MAC Address Block Medium (MA-M)
                     • MAC Address Block Small (MA-S)

                     (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                     See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                     1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                     Each Accused Receiver Device is capable of portable operation and,
                     through Bluetooth connectivity, is designed to work with a portable
                     transmitter implementing Bluetooth connectivity.

                     See also, for example:

                     1 GENERAL DESCRIPTION
                     Bluetooth wireless technology is a short-range communications
                     system intended to replace the cable(s) connecting portable and/or
                     fixed electronic devices.
                     (BT Specification 5.0 at 166.)

                     Apple promotes each Accused Receiver Device as providing clear
                     and high quality sound for voice and music.

                     For example, Apple promotes its W1 and H1 chips, which operate in
                     the Accused Receiver Devices, as providing clear, detailed, high
                     quality sound for calls and music.



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                     See also:
                     This profile defines the requirements for Bluetooth devices necessary
                     for support of the high quality audio distribution. The requirements
                     are expressed in terms of end-user services, and by defining the
                     features and procedures that are required for interoperability between
                     Bluetooth devices in the Audio Distribution usage model.
                     (Advanced Audio Distribution v1.3.2, Abstract)

                     See also:

                     https://www.apple.com/airpods-2nd-generation/
                     https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                     airpods-pro-available-october-30/

                     https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                     wireless-headphones-with-airpods/
                     https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                     charging-case
                     https://www.apple.com/homepod/
                     https://www.beatsbydre.com/speakers/beats-pill-plus
                     https://www.beatsbydre.com/earphones/beats-x
                     https://www.beatsbydre.com/headphones/solo3-wireless
                     https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                     totally-wireless-earphones-spring-yellow
                     https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                     high-performance-wireless-earphones-red
                     https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                     wireless-noise-cancelling-headphones-more-matte-collection-dark-
                     blue
                     https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                     wireless-headphones-the-beats-skyline-collection-midnight-black
                     https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                     wireless-headphones-beats-camo-collection-sand-dune
                     https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                     guide/



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     U.S. Patent                              Accused Receiver Device
     10,468,047

                         https://www.crutchfield.com/S-
                         oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                         Generation.html

a direct conversion      Each Accused Receiver Device has a direct conversion module. For
   module configured     example, Apple promotes the low power consumption characteristics
   to receive wireless   of the accused devices.
   modulation            https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
   transmissions
                         wireless-headphones-with-airpods/
   representative of
   said audio signal     https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
   representation and    guide/
   which have been
   processed to reduce   https://www.crutchfield.com/S-
   intersymbol           oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-Generation.html
   interference, and
                         https://www.beatsbydre.com/products
   wherein said
   portable spread
   spectrum audio        1 GENERAL DESCRIPTION
   receiver further      Bluetooth wireless technology is a short-range communications
   processes said        system intended to replace the cable(s) connecting portable and/or
   received wireless     fixed electronic devices. The key features of Bluetooth wireless
   modulation            technology are robustness, low power consumption, and low cost.
   transmissions for     Many features of the core specification are optional, allowing product
   reduction of          differentiation.
   intersymbol           (BT Specification 5.0, Vol. 1, Part A, Section 1.)
   interference;

                         Each Accused Receiver Device decodes transmissions encoded to
                         reduce intersymbol interference. For example:
                         The modulation shall employ square-root raised cosine pulse shaping
                         to generate the equivalent lowpass information-bearing signal v(t).
                         The output of the transmitter shall be a bandpass signal that can be
                         represented as

                                                   (EQ 1)


                         (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                         Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                         Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                         Systems, NASA, Erkin Cubukcu (May 18, 2012), available at


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     U.S. Patent                              Accused Receiver Device
     10,468,047
                         http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                         Inter Symbol Interference (ISI) and raised cosine filtering, available
                         at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

a digital-to-analog      Each Accused Receiver Device generates audio output by converting
   converter (DAC)       the received digital signal representation to analog audio.
   configured to
   provide an analog     For example:
   audio output signal
   corresponding to      LOUDSPEAKER PATH
   said audio signal     RLR measurement model
   representation;




                         (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

a speaker configured     Each Accused Receiver Device has a speaker.
   to generate an
   audio signal          See also:
   corresponding to
   said analog audio     LOUDSPEAKER PATH
   output signal,        RLR measurement model
   wherein said
   generated audio
   signal does not
   include audible
   audio content
   originating from
   any audio signals
   transmitted in a      (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)
   spectrum used by
   said spread
   spectrum              Apple promotes the high quality and clear sound of each of the
   transmitter that do   Accused Receiver Devices. For example:
   not originate from    
   said spread           https://www.apple.com/airpods-2nd-generation/
   spectrum
                         https://www.apple.com/newsroom/2019/10/apple-reveals-new-
   transmitter;
                         airpods-pro-available-october-30/



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    10,468,047
                   https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                   wireless-headphones-with-airpods/
                   https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                   charging-case
                   https://www.apple.com/homepod/
                   https://www.beatsbydre.com/speakers/beats-pill-plus
                   https://www.beatsbydre.com/earphones/beats-x
                   https://www.beatsbydre.com/headphones/solo3-wireless
                   https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                   totally-wireless-earphones-spring-yellow
                   https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                   high-performance-wireless-earphones-red
                   https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                   wireless-noise-cancelling-headphones-more-matte-collection-dark-
                   blue
                   https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                   wireless-headphones-the-beats-skyline-collection-midnight-black
                   https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                   wireless-headphones-beats-camo-collection-sand-dune
                   https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                   guide/

                   https://www.crutchfield.com/S-
                   oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                   Generation.html

                   See also:

                   The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                   or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                   employs a frequency hopping transceiver to combat interference and
                   fading and provides many FHSS [frequency hopping spread
                   spectrum] carriers.
                   (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                   See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                   BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.


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     U.S. Patent                               Accused Receiver Device
     10,468,047

wherein said portable    Each Accused Receiver Device uses independent code division
  spread spectrum        multiple access (CDMA) communication.
  audio receiver is      Bluetooth is based on FH-CDMA (Frequency Hopping Code
  configured to use      Division Multiple Access). See Performance Analysis of Bluetooth
  independent code       Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
  division multiple      Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
  access                 see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
  communication and      available at
  to use said unique     http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
  user code to           2014.pdf. See also Wireless Communication Systems: From RF
  communicate with       Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
  only said spread       Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
  spectrum               core multiple-access technology in Bluetooth. . . .”).
  transmitter during a
  wireless               See also:
  connection;
                         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                         or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                         employs a frequency hopping transceiver to combat interference and
                         fading and provides many FHSS [frequency hopping spread
                         spectrum] carriers.

                         (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                         Devices in a piconet use a specific frequency hopping pattern, which
                         is algorithmically determined by certain fields in the Bluetooth
                         address and clock of the master. The basic hopping pattern is a
                         pseudo-random ordering of the 79 frequencies in the ISM band. The
                         hopping pattern may be adapted to exclude a portion of the
                         frequencies that are used by interfering devices. The adaptive
                         hopping technique improves Bluetooth co-existence with static (non-
                         hopping) ISM systems when these are co-located.

                         The physical channel is sub-divided into time units known as slots.
                         Data is transmitted between Bluetooth devices in packets, that are
                         positioned in these slots. When circumstances permit, a number of
                         consecutive slots may be allocated to a single packet. Frequency
                         hopping takes place between the transmission or reception of packets.
                         Bluetooth technology provides the effect of full duplex transmission
                         through the use of a Time-Division Duplex (TDD) scheme.

                         (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                         Piconet Physical Channel), 3.3.1.1.2.)


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    U.S. Patent                          Accused Receiver Device
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                   Each Accused Receiver Device is configured to receive a unique user
                   code. For example:
                   1.3 ACCESS CODES
                   In the Bluetooth system all transmissions over the physical channel
                   begin with an access code. Three different access codes are defined,
                   see also Section 6.3.1:

                          • device access code (DAC)
                          • channel access code (CAC)
                          • inquiry access code (IAC)

                   All access codes are derived from the LAP of a device address or an
                   inquiry address. The device access code is used during page, page
                   scan and page response substates and shall be derived from the paged
                   device’s BD_ADDR. The channel access code is used in the
                   CONNECTION state, . . ..

                   The access code also indicates to the receiver the arrival of a packet.
                   It is used for timing synchronization and offset compensation. The
                   receiver correlates against the entire synchronization word in the
                   access code, providing very robust signaling.
                   (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                   See also, for example:
                   Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                   device address (BD_ADDR). The address shall be a 48-bit extended
                   unique identifier (EUI-48) created in accordance with section 8.2
                   (“Universal addresses”) of the IEEE 802-2014 standard
                   (http://standards.ieee.org/findstds/standard/802-2014.html).

                   Creation of a valid EUI-48 requires one of the following MAC
                   Address Block types to be obtained from the IEEE Registration
                   Authority:

                   • MAC Address Block Large (MA-L)
                   • MAC Address Block Medium (MA-M)
                   • MAC Address Block Small (MA-S)

                   (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                   See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                   1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.



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     U.S. Patent                                Accused Receiver Device
      10,468,047
wherein said portable     Each Accused Receiver Device performs at least one of a plurality of
  spread spectrum         demodulations on a representation of an audio signal, wherein the
  audio receiver is       plurality of demodulations includes a differential phase shift keying
  further configured      (DPSK) demodulation and a non-DPSK demodulation.
  to perform at least
  one of a plurality of   For example:
  demodulations on
  at least one of said    3.2.1 Modulation Characteristics
  received wireless       During access code and packet header transmission the Basic Rate
  modulation              GFSK modulation mode shall be used. During the transmission of the
  transmissions,          synchronization sequence, payload, and trailer sequence a PSK type
  wherein said            of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
  plurality of            used. The following subsections specify the PSK modulation for this
  demodulations           transmission.
  includes a
  differential phase      3.2.1.1 Modulation Method Overview
  shift keying            The PSK modulation format defined for the 2 Mb/s transmission shall
  (DPSK)                  be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
  demodulation and a      DQPSK).
  non-DPSK
  demodulation; and       The PSK modulation format defined for the 3 Mb/s transmission shall
                          be differential encoded 8-ary phase shift keying (8DPSK).

                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                          See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2,
                          4.2; BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

wherein said further      The square-root raised cosine pulse shaping is separate from, for
   processing for         example, the DPSK and non-DPSK modulations.
   reduction of
   intersymbol
   interference is
   separate from said
   performance of at
   least one of said
   plurality of
   demodulations.
2. The portable spread    Each Accused Receiver Device performs a plurality of demodulations
   spectrum audio         on a received wireless modulation transmission.
   receiver of claim 1,
   wherein the            For example:
   portable spread
   spectrum audio         3.2.1 Modulation Characteristics


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     U.S. Patent                                Accused Receiver Device
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  receiver is further     During access code and packet header transmission the Basic Rate
  configured to           GFSK modulation mode shall be used. During the transmission of the
  perform said            synchronization sequence, payload, and trailer sequence a PSK type
  plurality of            of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
  demodulations on        used. The following subsections specify the PSK modulation for this
  the at least one of     transmission.
  said received
  wireless                3.2.1.1 Modulation Method Overview
  modulation              The PSK modulation format defined for the 2 Mb/s transmission shall
  transmissions.          be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
                          DQPSK).

                          The PSK modulation format defined for the 3 Mb/s transmission shall
                          be differential encoded 8-ary phase shift keying (8DPSK).

                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                          See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2,
                          4.2; BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

3. The portable spread    Apple promotes each Accused Receiver Device as providing clear
   spectrum audio         and high quality sound for voice and music.
   receiver of claim 1,
   wherein the audio      For example, Apple promotes its W1 and H1 chips, which operate in
   signal                 the Accused Receiver Devices, as providing clear, detailed, high
   representation         quality sound for calls and music.
   represents music.
                          See also:
                          This profile defines the requirements for Bluetooth devices necessary
                          for support of the high quality audio distribution. The requirements
                          are expressed in terms of end-user services, and by defining the
                          features and procedures that are required for interoperability between
                          Bluetooth devices in the Audio Distribution usage model.
                          (Advanced Audio Distribution v1.3.2, Abstract)

                          See also:

                          https://www.apple.com/airpods-2nd-generation/
                          https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                          airpods-pro-available-october-30/

                          https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                          wireless-headphones-with-airpods/



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     10,468,047
                          https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                          charging-case
                          https://www.apple.com/homepod/
                          https://www.beatsbydre.com/speakers/beats-pill-plus
                          https://www.beatsbydre.com/earphones/beats-x
                          https://www.beatsbydre.com/headphones/solo3-wireless
                          https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                          totally-wireless-earphones-spring-yellow
                          https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                          high-performance-wireless-earphones-red
                          https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                          wireless-noise-cancelling-headphones-more-matte-collection-dark-
                          blue
                          https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                          wireless-headphones-the-beats-skyline-collection-midnight-black
                          https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                          wireless-headphones-beats-camo-collection-sand-dune
                          https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                          guide/

                          https://www.crutchfield.com/S-
                          oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                          Generation.html

4. The portable spread    Apple’s W1 and H1 chips, operating in the Accused Receiver
   spectrum audio         Devices, are capable of representing audio signals below 40Hz and
   receiver of claim 1,   above 5kHz.
   wherein said analog    See also, for example:
   audio output signal
   is capable of          https://www.crutchfield.com/S-adgAxaFSrul/p_835PBT3BTB/Beats-
   representing audio     by-Dr-Dre-Powerbeats3-Wireless-Black.html
   signals below 40       https://www.techradar.com/news/airpods-beats-and-the-best-apple-
   Hz and also capable    headphones-you-can-buy-in-2020
   of representing
   audio signals above
   5 kHz.                 See also https://www.apple.com/newsroom/2019/10/apple-reveals-
                          new-airpods-pro-available-october-30/



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      U.S. Patent                              Accused Receiver Device
       10,468,047
5. The portable spread    Each Accused Receiver Device includes a power supply in the form
   spectrum audio         of a battery.
   receiver of claim 1,
   wherein the
   portable spread
   spectrum audio
   receiver includes a
   power supply.
6. The portable spread    Each Accused Receiver Device includes a wireless headphone having
   spectrum radio         one or more speakers. These include over-head-type headphones, in-
   receiver of claim 1,   ear earbud-type headphones and behind-neck-type headphones.
   further comprising
   a headphone unit,      For example, Apple promotes its AirPods and AirPods Pro as
   wherein the            headphones.
   headphone unit is
   configured to          https://www.apple.com/airpods/
   integrate the
                          https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
   speaker and
                          wireless-headphones-with-airpods/
   wherein the
   headphone unit         https://www.apple.com/shop/product/MWNX2/powerbeats-high-
   enables a user to      performance-wireless-earphones-red
   secure the speaker
   on to a head of the
   user.
8. A portable spread      Each Accused Receiver Device is a product that receives audio data
   spectrum audio         using Bluetooth connectivity.
   receiver configured
   to receive and store   Each Accused Receiver Device is a digital audio spread spectrum
   a unique user code,    receiver. For example:
   said portable spread
   spectrum receiver      The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
   configured to          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
   receive wireless       employs a frequency hopping transceiver to combat interference and
   modulation             fading and provides many FHSS [frequency hopping spread
   transmissions from     spectrum] carriers.
   a spread spectrum      (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)
   transmitter coupled
   to a music audio       Each Accused Receiver Device is operative to communicate
   source, said           wirelessly.
   wireless
                          See also:
   modulation
   transmissions          1 GENERAL DESCRIPTION
   representative of an   Bluetooth wireless technology is a short-range communications
   audio signal           system intended to replace the cable(s) connecting portable and/or



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      10,468,047
  representation, said   fixed electronic devices. The key features of Bluetooth wireless
  portable spread        technology are robustness, low power consumption, and low cost.
  spectrum audio         Many features of the core specification are optional, allowing product
  receiver configured    differentiation.
  to:                    (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                         Each Accused Receiver Device is configured to receive and store a
                         unique user code. For example:
                         1.3 ACCESS CODES
                         In the Bluetooth system all transmissions over the physical channel
                         begin with an access code. Three different access codes are defined,
                         see also Section 6.3.1:

                                • device access code (DAC)
                                • channel access code (CAC)
                                • inquiry access code (IAC)

                         All access codes are derived from the LAP of a device address or an
                         inquiry address. The device access code is used during page, page
                         scan and page response substates and shall be derived from the paged
                         device’s BD_ADDR. The channel access code is used in the
                         CONNECTION state, . . ..

                         The access code also indicates to the receiver the arrival of a packet.
                         It is used for timing synchronization and offset compensation. The
                         receiver correlates against the entire synchronization word in the
                         access code, providing very robust signaling.
                         (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                         See also, for example:
                         Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                         device address (BD_ADDR). The address shall be a 48-bit extended
                         unique identifier (EUI-48) created in accordance with section 8.2
                         (“Universal addresses”) of the IEEE 802-2014 standard
                         (http://standards.ieee.org/findstds/standard/802-2014.html).

                         Creation of a valid EUI-48 requires one of the following MAC
                         Address Block types to be obtained from the IEEE Registration
                         Authority:

                         • MAC Address Block Large (MA-L)
                         • MAC Address Block Medium (MA-M)
                         • MAC Address Block Small (MA-S)



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    U.S. Patent                          Accused Receiver Device
    10,468,047
                   (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                   See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                   1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                   Each Accused Receiver Device is capable of portable operation and,
                   through Bluetooth connectivity, is designed to work with a portable
                   transmitter implementing Bluetooth connectivity.

                   See also, for example:

                   1 GENERAL DESCRIPTION
                   Bluetooth wireless technology is a short-range communications
                   system intended to replace the cable(s) connecting portable and/or
                   fixed electronic devices.
                   (BT Specification 5.0 at 166.)

                   Apple promotes each Accused Receiver Device as providing clear
                   and high quality sound for voice and music.

                   For example, Apple promotes its W1 and H1 chips, which operate in
                   the Accused Receiver Devices, as providing clear, detailed, high
                   quality sound for calls and music.

                   See also:
                   This profile defines the requirements for Bluetooth devices necessary
                   for support of the high quality audio distribution. The requirements
                   are expressed in terms of end-user services, and by defining the
                   features and procedures that are required for interoperability between
                   Bluetooth devices in the Audio Distribution usage model.
                   (Advanced Audio Distribution v1.3.2, Abstract)

                   See also:

                   https://www.apple.com/airpods-2nd-generation/
                   https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                   airpods-pro-available-october-30/

                   https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                   wireless-headphones-with-airpods/
                   https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                   charging-case



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                         https://www.apple.com/homepod/
                         https://www.beatsbydre.com/speakers/beats-pill-plus
                         https://www.beatsbydre.com/earphones/beats-x
                         https://www.beatsbydre.com/headphones/solo3-wireless
                         https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                         totally-wireless-earphones-spring-yellow
                         https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                         high-performance-wireless-earphones-red
                         https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                         wireless-noise-cancelling-headphones-more-matte-collection-dark-
                         blue
                         https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                         wireless-headphones-the-beats-skyline-collection-midnight-black
                         https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                         wireless-headphones-beats-camo-collection-sand-dune
                         https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                         guide/

                         https://www.crutchfield.com/S-
                         oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                         Generation.html

use independent code     Each Accused Receiver Device uses independent code division
  division multiple      multiple access (CDMA) communication.
  access                 Bluetooth is based on FH-CDMA (Frequency Hopping Code
  communication and      Division Multiple Access). See Performance Analysis of Bluetooth
  said unique user       Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
  code to
                         Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
  communicate with       see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
  only said spread       available at
  spectrum               http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
  transmitter during a   2014.pdf. See also Wireless Communication Systems: From RF
  wireless               Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
  connection;            Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                         core multiple-access technology in Bluetooth. . . .”).

                         See also:



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    10,468,047
                   The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                   or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                   employs a frequency hopping transceiver to combat interference and
                   fading and provides many FHSS [frequency hopping spread
                   spectrum] carriers.

                   (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                   Devices in a piconet use a specific frequency hopping pattern, which
                   is algorithmically determined by certain fields in the Bluetooth
                   address and clock of the master. The basic hopping pattern is a
                   pseudo-random ordering of the 79 frequencies in the ISM band. The
                   hopping pattern may be adapted to exclude a portion of the
                   frequencies that are used by interfering devices. The adaptive
                   hopping technique improves Bluetooth co-existence with static (non-
                   hopping) ISM systems when these are co-located.

                   The physical channel is sub-divided into time units known as slots.
                   Data is transmitted between Bluetooth devices in packets, that are
                   positioned in these slots. When circumstances permit, a number of
                   consecutive slots may be allocated to a single packet. Frequency
                   hopping takes place between the transmission or reception of packets.
                   Bluetooth technology provides the effect of full duplex transmission
                   through the use of a Time-Division Duplex (TDD) scheme.

                   (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                   Piconet Physical Channel), 3.3.1.1.2.)

                   Each Accused Receiver Device is configured to receive a unique user
                   code. For example:
                   1.3 ACCESS CODES
                   In the Bluetooth system all transmissions over the physical channel
                   begin with an access code. Three different access codes are defined,
                   see also Section 6.3.1:

                          • device access code (DAC)
                          • channel access code (CAC)
                          • inquiry access code (IAC)

                   All access codes are derived from the LAP of a device address or an
                   inquiry address. The device access code is used during page, page
                   scan and page response substates and shall be derived from the paged
                   device’s BD_ADDR. The channel access code is used in the
                   CONNECTION state, . . ..


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                       The access code also indicates to the receiver the arrival of a packet.
                       It is used for timing synchronization and offset compensation. The
                       receiver correlates against the entire synchronization word in the
                       access code, providing very robust signaling.
                       (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)

                       See also, for example:
                       Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                       device address (BD_ADDR). The address shall be a 48-bit extended
                       unique identifier (EUI-48) created in accordance with section 8.2
                       (“Universal addresses”) of the IEEE 802-2014 standard
                       (http://standards.ieee.org/findstds/standard/802-2014.html).

                       Creation of a valid EUI-48 requires one of the following MAC
                       Address Block types to be obtained from the IEEE Registration
                       Authority:

                       • MAC Address Block Large (MA-L)
                       • MAC Address Block Medium (MA-M)
                       • MAC Address Block Small (MA-S)

                       (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                       See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                       1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

receive wireless       Each Accused Receiver Device receives modulation transmissions
   modulation          representative of an audio signal.
   transmissions
   representative of   For example:
   said audio signal
   representation;     3.2.1 Modulation Characteristics
                       During access code and packet header transmission the Basic Rate
                       GFSK modulation mode shall be used. During the transmission of the
                       synchronization sequence, payload, and trailer sequence a PSK type
                       of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
                       used. The following subsections specify the PSK modulation for this
                       transmission.

                       3.2.1.1 Modulation Method Overview
                       The PSK modulation format defined for the 2 Mb/s transmission shall
                       be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
                       DQPSK).



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                          The PSK modulation format defined for the 3 Mb/s transmission shall
                          be differential encoded 8-ary phase shift keying (8DPSK).

                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                          See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2,
                          4.2; BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

process said received     Each Accused Receiver Device processes modulation transmissions
  wireless                for reduction of intersymbol interference.
  modulation              For example:
  transmissions for
  reduction of            The modulation shall employ square-root raised cosine pulse shaping
  intersymbol             to generate the equivalent lowpass information-bearing signal v(t).
  interference;           The output of the transmitter shall be a bandpass signal that can be
                          represented as

                                                     (EQ 1)


                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                          Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                          Raised Cosine (RRC) Filters and Pulse Shaping in Communication
                          Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                          http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

perform at least one of   Each Accused Receiver Device performs at least one of a plurality of
  a plurality of          demodulations on a received wireless modulation transmission,
  demodulations on        wherein the plurality of demodulations includes a differential phase
  at least one of said    shift keying (DPSK) demodulation and a non-DPSK demodulation.
  received wireless
  modulation              For example:
  transmissions,
  wherein said            3.2.1 Modulation Characteristics
  plurality of            During access code and packet header transmission the Basic Rate
  demodulations           GFSK modulation mode shall be used. During the transmission of the
  includes a              synchronization sequence, payload, and trailer sequence a PSK type
  differential phase      of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
  shift keying            used. The following subsections specify the PSK modulation for this
  (DPSK)                  transmission.
  demodulation and a


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  non-DPSK               3.2.1.1 Modulation Method Overview
  demodulation;          The PSK modulation format defined for the 2 Mb/s transmission shall
                         be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
                         DQPSK).

                         The PSK modulation format defined for the 3 Mb/s transmission shall
                         be differential encoded 8-ary phase shift keying (8DPSK).

                         (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                         See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2,
                         4.2; BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

generate an analog       Each Accused Receiver Device generates analog audio output
  audio output signal    corresponding to the audio signal representation.
  corresponding to
  said audio signal      For example:
  representation; and
                         LOUDSPEAKER PATH
                         RLR measurement model




                         (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

output an audio signal   Apple promotes each Accused Receiver Device as outputting an
  corresponding to       audio signal.
  said analog audio
  output signal.         See also:

                         LOUDSPEAKER PATH
                         RLR measurement model




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                          (BT Specification 5.0, Vol. 2, Part B, Appendix A, A.5.)

9. The portable spread    Each Accused Receiver Device performs a plurality of demodulations
   spectrum audio         on a received wireless modulation transmission.
   receiver of claim 8,
   wherein the            For example:
   portable spread
   spectrum audio         3.2.1 Modulation Characteristics
   receiver is further    During access code and packet header transmission the Basic Rate
   configured to          GFSK modulation mode shall be used. During the transmission of the
   perform said           synchronization sequence, payload, and trailer sequence a PSK type
   plurality of           of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
   demodulations on       used. The following subsections specify the PSK modulation for this
   the at least one of    transmission.
   said received
   wireless               3.2.1.1 Modulation Method Overview
   modulation             The PSK modulation format defined for the 2 Mb/s transmission shall
   transmissions.         be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
                          DQPSK).

                          The PSK modulation format defined for the 3 Mb/s transmission shall
                          be differential encoded 8-ary phase shift keying (8DPSK).

                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                          See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2,
                          4.2; BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

10. The portable          Each Accused Receiver Device receives transmissions that have been
  spread spectrum         processed to reduce intersymbol interference. For example:
  audio receiver of       The modulation shall employ square-root raised cosine pulse shaping
  claim 8, wherein,
                          to generate the equivalent lowpass information-bearing signal v(t).
  prior to being          The output of the transmitter shall be a bandpass signal that can be
  received by the         represented as
  portable spread
  spectrum audio
  receiver, the                                      (EQ 1)
  wireless
  modulation
  transmissions have      (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
  been processed to       Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
  reduce intersymbol      Raised Cosine (RRC) Filters and Pulse Shaping in Communication
  interference.           Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                          http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;


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                        Inter Symbol Interference (ISI) and raised cosine filtering, available
                        at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

11. The portable        Each Accused Receiver Device generates an analog audio output
  spread spectrum       signal capable of representing audio signals below 40Hz and above
  audio receiver of     5kHz.
  claim 8, wherein      For example:
  said analog audio
  output signal is      Apple’s W1 and H1 chips, operating in the Accused Receiver
  capable of            Devices, are capable of representing audio signals below 40Hz and
  representing audio    above 5kHz.
  signals below 40      See also, for example:
  Hz and also capable
  of representing       https://www.crutchfield.com/S-adgAxaFSrul/p_835PBT3BTB/Beats-
  audio signals above   by-Dr-Dre-Powerbeats3-Wireless-Black.html
  5 kHz.                https://www.techradar.com/news/airpods-beats-and-the-best-apple-
                        headphones-you-can-buy-in-2020

                        See also https://www.apple.com/newsroom/2019/10/apple-reveals-
                        new-airpods-pro-available-october-30/

12. The portable        Apple promotes the high quality and clear sound of each of the
  spread spectrum       Accused Receiver Devices. For example:
  audio receiver of     
  claim 8, wherein      https://www.apple.com/airpods-2nd-generation/
  said generated
  audio signal does     https://www.apple.com/newsroom/2019/10/apple-reveals-new-
  not include audible   airpods-pro-available-october-30/
  audio content
  originating from      https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
  any audio signals     wireless-headphones-with-airpods/
  transmitted in a      https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
  spectrum used by      charging-case
  said spread
  spectrum              https://www.apple.com/homepod/
  transmitter that do
  not originate from    https://www.beatsbydre.com/speakers/beats-pill-plus
  said spread           https://www.beatsbydre.com/earphones/beats-x
  spectrum
  transmitter.          https://www.beatsbydre.com/headphones/solo3-wireless
                        https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                        totally-wireless-earphones-spring-yellow



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                         https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                         high-performance-wireless-earphones-red
                         https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                         wireless-noise-cancelling-headphones-more-matte-collection-dark-
                         blue
                         https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                         wireless-headphones-the-beats-skyline-collection-midnight-black
                         https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                         wireless-headphones-beats-camo-collection-sand-dune
                         https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                         guide/

                         https://www.crutchfield.com/S-
                         oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                         Generation.html

                         See also:

                         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                         or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                         employs a frequency hopping transceiver to combat interference and
                         fading and provides many FHSS [frequency hopping spread
                         spectrum] carriers.
                         (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                         See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                         BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.

13. The portable         The square-root raised cosine pulse shaping is separate from, for
  spread spectrum        example, the DPSK and non-DPSK modulations.
  audio receiver of
  claim 8, wherein
  said processing for
  reduction of
  intersymbol
  interference
  performed by the
  portable spread
  spectrum audio
  receiver is separate
  from said
  performance of at


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     U.S. Patent                             Accused Receiver Device
     10,468,047
  least one of said
  plurality of
  demodulations.
14. The portable        Each Accused Receiver Device includes a power supply in the form
  spread spectrum       of a battery.
  audio receiver of
  claim 8, wherein
  the portable spread
  spectrum audio
  receiver includes a
  power supply.
15. The portable        Each Accused Receiver Device includes a wireless headphone having
  spread spectrum       one or more speakers. These include over-head-type headphones, in-
  radio receiver of     ear earbud-type headphones and behind-neck-type headphones.
  claim 8, further
  comprising a          For example, Apple promotes its AirPods and AirPods Pro as
  headphone unit,       headphones.
  wherein the
  headphone unit is     https://www.apple.com/airpods/
  configured to
                        https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
  integrate the
                        wireless-headphones-with-airpods/
  speaker and
  wherein the           https://www.apple.com/shop/product/MWNX2/powerbeats-high-
  headphone unit        performance-wireless-earphones-red
  enables a user to
  secure the speaker
  on to a head of the
  user.




     U.S. Patent                           Accused Transmitter Device
     10,468,047
17. A portable spread   Each Accused Transmitter Device is a product that transmits audio
  spectrum audio        data using Bluetooth connectivity.
  transmitter coupled
  to a music audio      Each Accused Transmitter Device is a digital audio spread spectrum
  source, said          transmitter. For example:
  transmitter
  configured to         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
  transmit a unique     or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
  user code and         employs a frequency hopping transceiver to combat interference and
  wireless


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  modulation             fading and provides many FHSS [frequency hopping spread
  transmissions          spectrum] carriers.
  representative of an   (BT Specification 5.0, Vol. 1, Part A, Section 1.1)
  audio signal
  representation, said   Each Accused Transmitter Device is operative to communicate
  portable spread        wirelessly.
  spectrum audio
                         See also:
  transmitter
  configured to:         1 GENERAL DESCRIPTION
                         Bluetooth wireless technology is a short-range communications
                         system intended to replace the cable(s) connecting portable and/or
                         fixed electronic devices. The key features of Bluetooth wireless
                         technology are robustness, low power consumption, and low cost.
                         Many features of the core specification are optional, allowing product
                         differentiation.
                         (BT Specification 5.0, Vol. 1, Part A, Section 1.)

                         Each Accused Transmitter Device is capable of portable operation
                         and, through Bluetooth connectivity, is designed to work with a
                         portable receiver implementing Bluetooth connectivity.

                         Each Accused Transmitter Device is configured to transmit a unique
                         user code. For example:
                         1.3 ACCESS CODES
                         In the Bluetooth system all transmissions over the physical channel
                         begin with an access code. Three different access codes are defined,
                         see also Section 6.3.1:

                                • device access code (DAC)
                                • channel access code (CAC)
                                • inquiry access code (IAC)

                         All access codes are derived from the LAP of a device address or an
                         inquiry address. The device access code is used during page, page
                         scan and page response substates and shall be derived from the paged
                         device’s BD_ADDR. The channel access code is used in the
                         CONNECTION state, . . ..

                         The access code also indicates to the receiver the arrival of a packet.
                         It is used for timing synchronization and offset compensation. The
                         receiver correlates against the entire synchronization word in the
                         access code, providing very robust signaling.
                         (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)



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                         See also, for example:
                         Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                         device address (BD_ADDR). The address shall be a 48-bit extended
                         unique identifier (EUI-48) created in accordance with section 8.2
                         (“Universal addresses”) of the IEEE 802-2014 standard
                         (http://standards.ieee.org/findstds/standard/802-2014.html).

                         Creation of a valid EUI-48 requires one of the following MAC
                         Address Block types to be obtained from the IEEE Registration
                         Authority:

                         • MAC Address Block Large (MA-L)
                         • MAC Address Block Medium (MA-M)
                         • MAC Address Block Small (MA-S)

                         (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                         See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                         1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                         Apple promotes each Accused Transmitter Device as providing
                         audio, including music.

                         See also:
                         This profile defines the requirements for Bluetooth devices necessary
                         for support of the high quality audio distribution. The requirements
                         are expressed in terms of end-user services, and by defining the
                         features and procedures that are required for interoperability between
                         Bluetooth devices in the Audio Distribution usage model.
                         (Advanced Audio Distribution v1.3.2, Abstract)

encode a first           Each Accused Transmitter Device encodes a representation of an
  representation of an   audio signal to reduce intersymbol interference. For example:
  audio signal to        The modulation shall employ square-root raised cosine pulse shaping
  reduce intersymbol     to generate the equivalent lowpass information-bearing signal v(t).
  interference           The output of the transmitter shall be a bandpass signal that can be
  associated with a      represented as
  transmitted
  representation of
  the audio signal;                                 (EQ 1)


                         (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.1; see also BT
                         Specification 5.0, Vol. 2, Part A, Section 3.2.1.3, Appendix C; Root
                         Raised Cosine (RRC) Filters and Pulse Shaping in Communication


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                          Systems, NASA, Erkin Cubukcu (May 18, 2012), available at
                          http://ntrs.nasa.gov/archive/nasa/casi.ntrs.nasa.gov/20120008631.pdf;
                          Inter Symbol Interference (ISI) and raised cosine filtering, available
                          at http://complextoreal.com/wp-content/uploads/2013/01/isi.pdf)

perform at least one of   Each Accused Transmitter Device performs at least one of a plurality
  a plurality of          of modulations on a representation of an audio signal. (E.g, below.)
  modulations on the
  first representation
  of the audio signal;
generate a modulated      Each Accused Transmitter Device performs at least one of a plurality
  signal based on the     of modulations on a representation of an audio signal, wherein the
  performance of at       plurality of modulations includes a differential phase shift keying
  least one of the        (DPSK) modulation and a non-DPSK modulation.
  plurality of
  modulations,            For example:
  wherein the
  plurality of            3.2.1 Modulation Characteristics
  modulations             During access code and packet header transmission the Basic Rate
  includes a              GFSK modulation mode shall be used. During the transmission of the
  differential phase      synchronization sequence, payload, and trailer sequence a PSK type
  shift keying            of modulation with a data rate of 2 Mb/s or optionally 3 Mb/s shall be
  (DPSK) modulation       used. The following subsections specify the PSK modulation for this
  and a non-DPSK          transmission.
  modulation; and
                          3.2.1.1 Modulation Method Overview
                          The PSK modulation format defined for the 2 Mb/s transmission shall
                          be ʌ/4 rotated differential encoded quaternary phase shift keying (ʌ/4-
                          DQPSK).

                          The PSK modulation format defined for the 3 Mb/s transmission shall
                          be differential encoded 8-ary phase shift keying (8DPSK).

                          (BT Specification 5.0, Vol. 2, Part A, Section 3.2.1.)

                          See also, BT Specification 5.0, Vol. 2 Part A, Sections 1, 3.1, 3.2,
                          4.2; BT Specification 5.0, Vol. 2, Part B, Sections 1, 6.1.2, 6.3.

use the modulated         Each Accused Transmitter Device uses independent code division
  signal and              multiple access (CDMA) communication.
  independent code        Bluetooth is based on FH-CDMA (Frequency Hopping Code
  division multiple       Division Multiple Access). See Performance Analysis of Bluetooth
  access                  Network in the Presence of WI-FI System, by Shehu Hassan Ayagi,
  communication to


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  wirelessly transmit    Computer Engineering and Intelligent Systems, Vol. 5, No. 9, 2014;
  a transmitted          see also Bluetooth Communication with Arduino by Dr. Xiaohai Li,
  representation of      available at
  the audio signal.      http://citytechrobotics.org/EMT2461/Bluetooth%20with%20Arduino-
                         2014.pdf. See also Wireless Communication Systems: From RF
                         Subsystems to 4G Enabling Technologies by Ke-Lin Du, M. N. S.
                         Swam, Cambridge University Press 2010, at 283 (“FH-CDMA is the
                         core multiple-access technology in Bluetooth. . . .”).

                         See also:

                         The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                         or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                         employs a frequency hopping transceiver to combat interference and
                         fading and provides many FHSS [frequency hopping spread
                         spectrum] carriers.

                         (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                         Devices in a piconet use a specific frequency hopping pattern, which
                         is algorithmically determined by certain fields in the Bluetooth
                         address and clock of the master. The basic hopping pattern is a
                         pseudo-random ordering of the 79 frequencies in the ISM band. The
                         hopping pattern may be adapted to exclude a portion of the
                         frequencies that are used by interfering devices. The adaptive
                         hopping technique improves Bluetooth co-existence with static (non-
                         hopping) ISM systems when these are co-located.

                         The physical channel is sub-divided into time units known as slots.
                         Data is transmitted between Bluetooth devices in packets, that are
                         positioned in these slots. When circumstances permit, a number of
                         consecutive slots may be allocated to a single packet. Frequency
                         hopping takes place between the transmission or reception of packets.
                         Bluetooth technology provides the effect of full duplex transmission
                         through the use of a Time-Division Duplex (TDD) scheme.

                         (BT Specification 5.0, Vol. 1, Part A, Sections 1.1, 1.4 (BR/EDR
                         Piconet Physical Channel), 3.3.1.1.2.)


18. The portable         The square-root raised cosine pulse shaping is separate from, for
  spread spectrum        example, the DPSK and non-DPSK modulations.
  audio transmitter of
  claim 17, wherein



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  said plurality of
  modulations are
  separate from the
  encoding and
  processing by the
  encoder.
19. The portable          Each Accused Transmitter Device is configured to transmit a unique
  spread spectrum         user code. For example:
  audio transmitter of    1.3 ACCESS CODES
  claim 17, wherein       In the Bluetooth system all transmissions over the physical channel
  the transmitted         begin with an access code. Three different access codes are defined,
  unique user code        see also Section 6.3.1:
  distinguishes the
  transmitted                    • device access code (DAC)
  representation of              • channel access code (CAC)
  the audio signal               • inquiry access code (IAC)
  from other
  transmitted audio       All access codes are derived from the LAP of a device address or an
  signals in the          inquiry address. The device access code is used during page, page
  spread spectrum         scan and page response substates and shall be derived from the paged
  transmitter             device’s BD_ADDR. The channel access code is used in the
  spectrum, said          CONNECTION state, . . ..
  other transmitted
  audio signals not       The access code also indicates to the receiver the arrival of a packet.
  originating from        It is used for timing synchronization and offset compensation. The
  said wireless digital   receiver correlates against the entire synchronization word in the
  coded audio spread      access code, providing very robust signaling.
  spectrum                (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)
  transmitter.
                          See also, for example:
                          Each Bluetooth device shall be allocated a unique 48-bit Bluetooth
                          device address (BD_ADDR). The address shall be a 48-bit extended
                          unique identifier (EUI-48) created in accordance with section 8.2
                          (“Universal addresses”) of the IEEE 802-2014 standard
                          (http://standards.ieee.org/findstds/standard/802-2014.html).

                          Creation of a valid EUI-48 requires one of the following MAC
                          Address Block types to be obtained from the IEEE Registration
                          Authority:

                          • MAC Address Block Large (MA-L)
                          • MAC Address Block Medium (MA-M)
                          • MAC Address Block Small (MA-S)



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                   (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)

                   See also, for example, BT Specification 5.0, Vol. 1, Part A, Sections
                   1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B, Sections 2, 4.2, 6.4.

                   Apple promotes the high quality and clear sound of each of the
                   Accused Receiver Devices. For example:
                   
                   https://www.apple.com/airpods-2nd-generation/
                   https://www.apple.com/newsroom/2019/10/apple-reveals-new-
                   airpods-pro-available-october-30/

                   https://www.apple.com/newsroom/2016/09/apple-reinvents-the-
                   wireless-headphones-with-airpods/
                   https://www.apple.com/shop/product/MV7N2AM/A/airpods-with-
                   charging-case
                   https://www.apple.com/homepod/
                   https://www.beatsbydre.com/speakers/beats-pill-plus
                   https://www.beatsbydre.com/earphones/beats-x
                   https://www.beatsbydre.com/headphones/solo3-wireless
                   https://www.apple.com/shop/product/MXY92LL/A/powerbeats-pro-
                   totally-wireless-earphones-spring-yellow
                   https://www.apple.com/shop/product/MWNX2LL/A/powerbeats-
                   high-performance-wireless-earphones-red
                   https://www.apple.com/shop/product/MRJA2LL/A/beats-solo-pro-
                   wireless-noise-cancelling-headphones-more-matte-collection-dark-
                   blue
                   https://www.apple.com/shop/product/MXJA2LL/A/beats-studio3-
                   wireless-headphones-the-beats-skyline-collection-midnight-black
                   https://www.apple.com/shop/product/MWUJ2LL/A/beats-studio3-
                   wireless-headphones-beats-camo-collection-sand-dune
                   https://gizbuyerguide.com/fixing-muffled-airpods-a-step-by-step-
                   guide/




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                          https://www.crutchfield.com/S-
                          oMrYi3E9DOy/p_472ARPDS2/Apple-AirPods-2nd-
                          Generation.html

                          See also:

                          The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer
                          or PHY) operates in the unlicensed ISM band at 2.4 GHz. The system
                          employs a frequency hopping transceiver to combat interference and
                          fading and provides many FHSS [frequency hopping spread
                          spectrum] carriers.
                          (BT Specification 5.0, Vol. 1, Part A, Section 1.1.)

                          See also BT Specification 5.0, Vol. 1, Part A, Section 3.1.3, 3.3.1;
                          BT Specification 5.0, Vol. 2, Part A, Section 4.1.2.

 20. The portable         Each Accused Transmitter Device includes a power supply in the
   spread spectrum        form of a battery.
   audio transmitter of
   claim 17, wherein
   the portable spread
   spectrum audio
   transmitter includes
   a power supply.


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1                                    CERTIFICATE OF SERVICE
2                 I am a citizen of the United States of America and I am employed in Irvine,
3      California. I am over the age of 18 and not a party to the within action. My business
4      address is 2040 Main Street, Fourteenth Floor, Irvine, California.
5                 On September 15, 2020, I served the foregoing: ONE-E-WAY’S
6      DISCLOSURE              OF     ASSERTED         CLAIMS        AND       INFRINGEMENT
7      CONTENTIONS AND ACCOMPANYING DOCUMENTS PURSUANT TO SPR
8      2.1 AND 2.2 on the parties or their counsel shown below, by transmitting it
9      electronically to the addresses as follows:
10      Heidi L. Keefe                                 Phillip E. Morton
        hkeefe@cooley.com                              pmorton@cooley.com
11      Lowell D. Mead                                 1299 Pennsylvania Avenue NW, Suite
        lmead@cooley.com                               700
12      Benjamin S. Lin                                Washington, District of Columbia
        blin@cooley.com                                20004-2400
13      3175 Hanover Street                            Telephone: +1 202 842 7800
        Palo Alto, California 94304-1130
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15      Erik B. Milch
        emilch@cooley.com
16      Reston Town Center
        11951 Freedom Drive, 14th Floor
17      Reston, Virginia 20190-5640
        Telephone: +1 703 456 8000
18
19
                  I declare that I am employed in the office of a member of the bar of this Court
20
       at whose direction the service was made.
21
                  Executed on September 15,, 2020,, at Irvine,, California.
22
                               ____________________________________
23
                                           Claire A. Stoneman
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